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               UNITED STATES BANKRUPTCY COURT
                 MIDDLE DISTRICT OF FLORIDA
                      ORLANDO DIVISION

                                     CASE NO.:6:18-bk-06821-LVV
                                     CASE NO.:6:20-bk-01801-LVV
                                     Jointly Administered with
                                     Case No.:6:18-bk-06821-LVV

IN RE:

DON KARL JURAVIN,

                Debtor.
_________________________________________________________

BELLA COLLINA PROPERTY               ADV. NO.:6:21-ap-00103-LVV
OWNERS ASSOCIATION, INC.,            Consolidated with
                                     ADV. NO.:6:21-ap-00141-LVV
                  Plaintiff,         ADV. NO.:6:21-ap-00142-LVV
                                     ADV. NO.:6:22-ap-00016-LVV
v.                                   ADV. NO.:6:22-ap-00019-LVV
                                     ADV. NO.:6:22-ap-00020-LVV
DON KARL JURAVIN,

                Defendant.
_________________________________________________________



                      FEBRUARY 26, 2024

               TRANSCRIPT OF TRIAL PROCEEDINGS

            BEFORE THE HONORABLE LORI V. VAUGHAN
               UNITED STATES BANKRUPTCY JUDGE

              GEORGE C. YOUNG FEDERAL BUILDING
                 400 WEST WASHINGTON STREET
                      ORLANDO, FLORIDA




     Proceedings recorded by electronic sound recording
      Transcript provided by ACCREDITED COURT REPORTERS
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                                                                      2
A P P E A R A N C E S:

JAMES D. RYAN, ESQUIRE
Ryan Law Group, PLLC
636 U.S. Highway One
Suite 110
North Palm Beach, Florida
     Appearing on behalf of Chapter 7 Trustee
     Dennis D. Kennedy

JAMES A. TIMKO, ESQUIRE
Dean, Mead, Egerton, Bloodworth,
Capouano & Bozarth, P.A.
420 South Orange Avenue
Suite 700
Orlando, Florida
     Appearing on behalf of Plaintiff Bella
     Collina Property Owners Association, Inc.
     Adversary 21-103

ANNA JURAVIN, PRO SE
15118 Pendio Drive
Montverde, Florida
     Appearing as Defendant Pro Se

DENNIS D. KENNEDY, TRUSTEE - via Zoom
P.O. Box 541848
Merritt Island, Florida
     Appearing as Chapter 7 Panel Trustee




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                                                                           4
1      ORLANDO, FLORIDA, FEBRUARY 26, 2024, 10:02:52 A.M.
2                         P R O C E E D I N G S
3               COURTROOM DEPUTY: All rise.
4               The United States Bankruptcy Court for the
5    Middle District of Florida is now in session.                 The
6    Honorable Lori V. Vaughan presiding.             May God save the
7    United States and this Honorable Court.
8               THE COURT: You may be seated.
9               COURTROOM DEPUTY: Court calls Bankruptcy Case
10   18-6821, consolidated with 20-1801, and the related
11   Adversary Proceeding at 21-103 in the Juravin matters.
12              Interested parties, please come forward and
13   enter your appearances.
14              THE COURT: Let me take appearances please.
15              MR. RYAN: James Ryan on behalf of the Trustee.
16              THE COURT: Okay.
17              MR. TIMKO: James Timko on behalf of the Bella
18   Collina Property Owners Association.
19              THE COURT: All right.          Thank you.
20              MS. JURAVIN: Anna Juravin, Defendant in the
21   adversary proceeding.
22              THE COURT: All right.          Thank you.
23              Okay.    And I see Mr. Kennedy is on Zoom here.
24   Is he planning to observe the entire trial, Mr. Ryan?
25              MR. RYAN: I’m not sure.           It’s going to depend


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1    on how he holds up.
2                THE COURT: Okay.
3                MR. RYAN: But that’s the intention.
4                THE COURT: All right.
5                Well, let’s take care of a few housekeeping
6    matters.    Let me first address the elephant in the room.
7    Mrs. Juravin, where is Mr. Juravin?
8                MS. JURAVIN: Mr. Juravin is in urgent care.                  He
9    has health issues.        His blood pressure is very high.
10   There was a concern of his getting stroke or heart
11   attack.    So -–
12               THE COURT: When you say urgent care, is he in
13   the hospital?
14               MS. JURAVIN: No, it’s not a hospital.                It’s a
15   facility.    It’s urgent care with all the equipment.                  We
16   cannot afford going to the hospital.              It will cost us
17   3,000 a stay, not including the procedures that will be
18   performed.
19               THE COURT: Okay.         So he’s not planning to
20   participate in the trial?
21               MS. JURAVIN: No.         He’s -– he’s not here.            He’s
22   on drugs, and I don’t think even if he comes he can -–
23   he’s no use.
24               THE COURT: Okay.         And is -- when you say this
25   urgent care facility, this is not an inpatient facility?


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1               MS. JURAVIN: Your Honor, I’m not sure I
2    understand what’s the difference.
3               THE COURT: Meaning does he reside there
4    overnight or is he staying home?
5               MS. JURAVIN: No.          He was prescribed to stay at
6    home.
7               THE COURT: Okay.          All right.        Well, no one’s
8    filed any kind of motion to continue, nor do I have
9    anything in front of me to verify Mr. Juravin’s
10   situation.    Mrs. Juravin, how do you want to proceed
11   today?
12              MS. JURAVIN: I brought the papers for -– I
13   don’t have anything from today.            He’s in urgent care
14   again today.    I have the documents from Thursday, which I
15   can present if the Judge would like to see.
16              THE COURT: If you want to show them to me.                  I
17   mean, this is -– this is your show at this point, right?
18   He’s left you here to defend this case on your own.                    So
19   tell me what you want to do.
20              MS. JURAVIN: I would like to -– I didn’t even
21   think that a continuance should be filed.                It’s -– it’s
22   probably my mistake that I didn’t consider that.
23              I would like to continue.             I know that the
24   counsels are all set and are all ready.                But I don’t
25   think it’s -– it’s not fair to me, but what can I do,


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                                                                                  7
1    Your Honor?    What can I do?
2               THE COURT: Okay.          I’ll look at your paperwork
3    if you want me to.
4               All right.      Ms. Johnson, if you will hand that
5    back to Mrs. Juravin.       Okay.
6               I have reviewed the medical records from the
7    urgent care clinic that Mrs. Juravin handed to me.                     I’m
8    not -– to protect Mr. Juravin’s privacy, I’m not
9    providing that to opposing counsel, but I am not
10   continuing today’s trial.        If Mr. Juravin wishes to join
11   us, he’s more than welcome to, but we are going to go
12   ahead and proceed today.        Okay.
13              Other housekeeping matters.             As far as our
14   schedule this week, I don’t know how much time we’re
15   going to end up needing.        The Court did issue very
16   specific instructions about how we would proceed and
17   hopefully the parties are aware of those.                The Court has
18   its own calendar restrictions such that today and on
19   Wednesday we are going to conclude at 3:45.                 When we get
20   towards the end of today, we’ll talk about what time
21   we’ll start up the following morning to make sure we
22   maximize our time here.        But just make note of those in
23   your calendar that today and Wednesday we have to end a
24   little bit early.
25              I know there’s some objections to exhibits that


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                                                                              8
1    have been raised, and since Mr. Juravin is not here and,
2    Mrs. Juravin, I have to make you aware, you’re not here
3    to defend your husband, this is your own case.                 You’re
4    here representing yourself.          So because you’re not an
5    attorney, you cannot represent Mr. Juravin.
6                So as far as the exhibits go, how do you want
7    to proceed, Mr. Ryan, Mr. Timko?
8                MR. TIMKO: Well, with respect to Mr. Juravin’s
9    objections to our exhibits, and that’s actually a very
10   good -– good question, how we would deal with those going
11   forward.
12               THE COURT: Did he just object to the one or
13   were there multiple objections?
14               MR. TIMKO: He did -– he did object to several
15   exhibits.
16               THE COURT: That’s right.          I saw that, yeah.
17               MR. TIMKO: Not all of them frankly were legal
18   objections.    Some were based on relevance.              With respect
19   to those, I assume we can deal with them when we’re
20   dealing with the -– that particular witness.
21               Mr. Ryan has a lot more of the exhibits in
22   dealing with his case and also dealing with the Trustee.
23   So he can speak more to those.
24               There were some questions as to like
25   authenticity, hearsay, and attorney-client privilege.


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1    With respect to the attorney –- and Mr. Ryan can address
2    these in more detail if necessary.             But with respect to
3    the attorney-client privilege documents, these were all
4    documents that were recovered during the ESI recovery,
5    and Mr. Juravin, my understanding of the order, was he
6    was given a chance to review and file a privilege log or
7    do any of that, and they didn’t take any steps to do
8    that.
9                With respect to authenticity, some of that had
10   to do with -– I mean, all the documents that we have were
11   either recovered in discovery or his ESI.
12               THE COURT: Well, we’re going to have to deal
13   with the -– I think probably the best way to deal with
14   this, Mr. Timko, is just to address them as they come up.
15   Right.   Mr. Juravin’s not here to object, but I think
16   probably best for the record that we just admit each
17   exhibit as it’s introduced and I can address any
18   authenticity issues at that point.
19               MR. TIMKO: Okay.         With respect to authenticity
20   for time sake -–
21               THE COURT: Um-hum.
22               MR. TIMKO: -– it may be easier to just address
23   those as a group now.       That’s, I mean, that’s up to you,
24   because a lot of them are in the same, same grouping.                  So
25   I just -–


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1                THE COURT: Well, which ones are we talking
2    about?
3                MR. TIMKO: Do you have the -–
4                MR. RYAN: Yeah.
5                MR. TIMKO: Actually, Mr. Ryan is probably
6    better off at addressing some of these issues.
7                THE COURT: Because, I mean, it seems to me,
8    when it comes to authenticity, I need a witness to show
9    me that they’re authentic.           So that’s usually why we will
10   handle those at trial unless there’s, you know --
11               MR. TIMKO: Well, I --
12               THE COURT: -- stipulation or no objection.
13               MR. TIMKO: Well, I think with respect to the -–
14   any object -– most of the documents are not objected to.
15   So those are all waived and in.
16               Again, with respect to relevancy, we can deal
17   with those as they come up.          Sorry, I’m just going
18   through his objections real quick just to see if we even
19   need to -– what we really even need to address.
20               There’s the attorney -– so he has some
21   attorney-client privilege, which is the issue that I
22   raised earlier, and I’m looking specifically at 66, 67,
23   69 through 70, 74, 76, 77, 79.           It doesn’t look like he’s
24   actually raised -– oh, the only -– the only -– I thought
25   there was more.     I’m sorry, Your Honor, I misspoke.                 The


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1    only authentication issues are with respect to Mr.
2    Balot’s testimony and he’s here to testify today, so that
3    can get addressed.        And the report, the spreadsheet with
4    respect to the money with NVLC, which they’ll be here
5    tomorrow to testify.
6                So I think we can let in all the remainder.
7    Deal with the relevancy issues as they come up with the
8    particular witness.       And then with respect to the
9    attorney -– any attorney-client privilege issues, I’ll
10   let Mr. Ryan handle that because he was involved in that
11   procedure, I was not.
12               THE COURT: Okay.         Hold on just a second here.
13   I’m just looking for the objection that Mr. Juravin
14   filed.   I see the motion in limine, which I think was
15   just addressed to the one exhibit.
16               MR. RYAN: Document 412.
17               THE COURT: Well, yeah, it’s not showing up
18   here.    Okay.   I’ll look over here.          Oh, you know what it
19   is, it’s not -–
20               MR. TIMKO: I believe that was the findings by
21   Mr. Balot, that he raised that issue, and Mr. Balot’s
22   here again today.
23               THE COURT: Right.        Oh, here it is.         Okay.     So
24   Mrs. Juravin is also a party on this objection.                  So
25   that’s what I wanted to check.


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1                MR. TIMKO: Right.
2                THE COURT: So we can’t simply ignore them.
3    Okay.    So relevance we’ll keep, we’ll address as the time
4    comes.
5                Ms. Johnson, do I have just the exhibit list?
6    Can you print me one out?         My computer’s no longer
7    attached to the printer it seems like.                 Thank you.       Is
8    that your copy?
9                COURTROOM DEPUTY: No.          I have more.
10               THE COURT: Okay.          Thank you.       All right.       This
11   makes it easier for me.
12               All right.      So without objection, do you want
13   to walk me through the ones you contend there are no
14   objections and then?
15               MR. TIMKO: Sure, Your Honor.
16               THE COURT: Yeah.
17               MR. TIMKO: I can do that.            Well, Number 1 has
18   no objection.
19               THE COURT: Um-hum, okay.
20               MR. TIMKO: So any objections would be waived
21   under your order.         So that should be admitted.            I’ll let
22   Mr. Ryan address 2 and 3.
23               MR. RYAN: This is a motion, it’s of record, and
24   it’s already been ruled on.           It’s just included in the
25   exhibit list, so that when you have to go back and read


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                                                                              13
1    written closing arguments everything is in one place for
2    you to see.    So -–
3                THE COURT: Right.
4                MR. RYAN: -– I don’t think there’s any question
5    that it’s both -–
6                THE COURT: Okay.         These are just pleadings.
7                MR. RYAN: -– authenticate and relevant.
8                THE COURT: Yes.       Exhibits 2 and 3, Mrs.
9    Juravin, do you continue to object to those?                 These are
10   just pleadings.
11               MS. JURAVIN: No, I don’t.
12               THE COURT: Okay.         All right.       So 1, 2 and 3 are
13   admitted.    Okay.
14               MR. TIMKO: Okay, 4 and 5 are not objected to.
15               MR. RYAN: Yeah.
16               THE COURT: Okay.
17               MR. TIMKO: So those should be in.
18               MR. RYAN: So Exhibit 6 is a document that was
19   produced from Mr. Juravin’s ESI account that was
20   recovered.
21               THE COURT: Yeah.         We’re going to deal with that
22   when the witness is on the stand.
23               MR. RYAN: Okay.
24               THE COURT: All the tech stuff.              Because I
25   haven’t looked at it and so I do think I need someone to


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                                                                             14
1    authenticate it for me.
2                MR. RYAN: Okay.
3                THE COURT: So that will be basically 6 through
4    10; is that right?
5                MR. TIMKO: Right.
6                THE COURT: All right.
7                MR. TIMKO: And then with -– oh, I’m sorry.                 Can
8    you help us with 7?
9                MR. RYAN: Yeah.      So 7 we’re going to have that
10   same issue with -–
11               MR. TIMKO: Yeah, 6 through 10 we’ll deal with.
12               MR. RYAN: Yeah.      And 10 is the report, so we’re
13   going to deal with that when we get Mr. Balot on the
14   stand.   Okay.
15               So if we continue forward -–
16               MR. TIMKO: So 20 -– hold on.              20 through 34
17   have no objections.       Oh, I’m sorry.        11 through 34 have
18   no objections.
19               THE COURT: Okay.
20               MR. RYAN: And 35 through 37, we have the
21   relevancy objections.
22               THE COURT: Okay.
23               MR. TIMKO: So we can -–
24               THE COURT: We’ll take those up as the documents
25   are admitted.     Just make sure you make a note to -–


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1                MR. TIMKO: Okay.         Same with -–
2                THE COURT: -– admit those.
3                MR. TIMKO: Same with 39 and 40.
4                THE COURT: Okay.         So went through 34.          And then
5    which ones are we talking about, 35?
6                MR. TIMKO: 35 through -– 35 through 37 and 39
7    and 40 have relevancy objections.            38 would be in.
8                THE COURT: Okay.         Okay.
9                MR. RYAN: 41 is in.         No -– no objection.
10               THE COURT: Okay.
11               MR. RYAN: 42 through 46, relevance.
12               THE COURT: Okay.
13               MR. RYAN: 47, no objection.               That’s in.
14               THE COURT: Okay.
15               MR. RYAN: NVLC, 48 we’re going to have a
16   witness for.     49 is in, without objection.
17               MR. TIMKO: It looks like 49 through 56 are in.
18               MR. RYAN: Yeah.
19               THE COURT: Okay.
20               MR. RYAN: 57 through 62 -–
21               THE COURT: Hold on.         Let me stop you for just a
22   second.   I’ve got 50, 51, 52 and then 51.                So that really
23   should be 53, right?
24               MR. RYAN: It is.         Yes.
25               THE COURT: Okay.         All right.       Sorry.     So, and


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1    then 54 through where is not objected to?
2                MR. TIMKO: 54 through 58.
3                THE COURT: Okay.
4                MR. RYAN: Actually through 62.
5                THE COURT: 62, okay.
6                MR. RYAN: 63 is a relevance objection.
7                64 is the attorney-client privilege.                 So we can
8    provide a little bit more detail about that.
9                When the ESI order was entered, it gave Online
10   Security a protocol that it was supposed to use with
11   regards to the data recovered from Mr. Juravin’s devices
12   and cloud accounts, and it required them to copy all the
13   data from those various devices and accounts and make
14   them their own file called a mirror file in the order.
15   And then they’re supposed to run a search with specified
16   terms, and once they had the material that was responsive
17   to the search, they were to give Mr. Juravin’s attorney
18   the opportunity to review and object the material, and
19   they did that.
20               They put the material into a -– let’s see, I
21   can’t remember if it was Hightail or Dropbox or whatever,
22   but Mr. Bartolone specified how he wanted to receive
23   things and he received them.          He would get a week with
24   the first set of documents, and it was a rolling thing
25   because there were so many documents.                 So each week he


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1    had the opportunity to go through documents and pose
2    objections, and the reality was is that he never looked
3    and he called and discussed it, and he was not looking.
4    And they weren’t not looking because of some mistake,
5    they just weren’t going to spend the time and effort to
6    do it.   And so after the time for them to pose objections
7    lapsed, the material then got made available to the
8    Trustee.
9                The opportunity was there to review and protect
10   privileged documents and they didn’t use it and that’s a
11   clear waiver, and they’ve known about that since the time
12   it happened and these documents have been discussed
13   before and it’s not until recently that they’ve raised
14   this objection.
15               MR. TIMKO: In addition, there’s also
16   significant -– in Mr. Juravin’s exhibits, which we
17   haven’t dealt with yet, there’s also significant
18   attorney-client privilege documents with his own
19   attorney.
20               THE COURT: I see that.
21               MR. TIMKO: And under the implied waiver theory,
22   I have a case for this, but you can’t use the attorney-
23   client privilege as a sword and shield.               It’s either -–
24   you can’t partially waive your communications and use it
25   as a sword and a shield.


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                                                                            18
1                We actually made copies of all -– well, I don’t
2    have Ms. Juravin’s exhibits but I did make copies of all
3    Mr. Juravin’s exhibits, but if you just scroll through,
4    you’ll see emails directly with his attorneys on various
5    issues throughout these exhibits.
6                MR. RYAN: And directly on this point, Mr.
7    Juravin included his communications with Mr. Bartolone
8    with regards to what cooperation he did or didn’t have to
9    give to Online Security with regards to getting the
10   documents out of the cloud.
11               THE COURT: Okay.
12               MR. RYAN: And it shows the timeline and Mr.
13   Juravin put those records out here so...
14               THE COURT: Okay.         All right.       Mrs. Juravin, do
15   you want to address the objection on attorney-client
16   privilege grounds?
17               MS. JURAVIN: According -– according to the -–
18   whatever I heard right now, I can’t because I’ve used the
19   emails in my exhibit as well.
20               THE COURT: Okay.
21               MS. JURAVIN: So -–
22               THE COURT: All right.
23               MS. JURAVIN: It’s moot at this point.
24               THE COURT: I’m going to overrule then the
25   objection on the grounds of attorney-client privilege and


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1    rule that the privilege was waived by failing to assert
2    it in accordance with this Court’s orders and also
3    presenting exhibits, presenting -– Mr. Juravin submitting
4    his own exhibits, which contain attorney-client material
5    as well.    So, and that will address -–
6                MR. TIMKO: 64.      We get to 65.
7                THE COURT: Okay.
8                MR. TIMKO: And that’s in as well.
9                MR. RYAN: It also addresses attorney -– Exhibit
10   66.
11               THE COURT: 66.
12               MR. RYAN: 67.      There is no objection to 68.
13               THE COURT: Okay.
14               MR. RYAN: 69 is the attorney-client privilege.
15   So that’s affected by the ruling.
16               70, attorney-client privilege is the only
17   objection.
18               THE COURT: Okay.
19               MR. RYAN: 71, it says that the description is
20   misleading because it deals with the transfer of the name
21   Juravin Incorporated from JINK to the -– from the
22   original Juravin, Incorporated.
23               MR. TIMKO: Yeah, they objected to the
24   description, not the document itself.
25               THE COURT: Okay.         Well, the description is not


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1    the evidentiary portion of it.           It’s just something to
2    help us locate it.        The document is what it is, and it
3    either proves or disproves or has no bearing at all on
4    the issue of whether there was a transfer.                So just
5    because you use that phrase, that’s not really a basis
6    for objection.     So I’ll let that 71, I’ll admit that.
7                MR. TIMKO: 72 is a relevancy objection.
8                THE COURT: Okay.         We’ll reserve that.
9                MR. TIMKO: 73 is in.
10               MR. RYAN: 74 is the attorney-client privilege
11   again.
12               THE COURT: Okay.
13               MR. TIMKO: 70 -– I’m sorry, just so we’re
14   keeping -– 75 should be in.
15               THE COURT: Okay.
16               MR. RYAN: 76 is attorney-client privilege, but
17   it also says it is irrelevant and speculation.
18               THE COURT: Okay.         So we’ll -– we resolved the
19   attorney-client privilege issue, we’ll reserve on the
20   relevancy.
21               MR. RYAN: Okay.
22               THE COURT: I don’t know -– yeah.
23               MR. RYAN: 77 is only attorney-client privilege.
24   So we can resolve that.
25               THE COURT: Okay.


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                                                                               21
1                MR. RYAN: 78, the only objection is relevance,
2    and I guess we can deal with that.
3                THE COURT: Yes, we’ll deal with it as it comes
4    up.
5                MR. RYAN: 79 is privilege and relevance.                   So we
6    can deal with the relevance when it comes up.
7                THE COURT: Okay.
8                MR. RYAN: There’s a reference at the end of 79
9    to some previous exhibits.           So however we dealt with
10   those.    I don’t think we need to go backwards.
11               THE COURT: Okay.         All right.
12               MR. RYAN: 80 has no objection.
13               THE COURT: Okay.         With regards to 81, it says,
14   See objections listed above, but there are no objections
15   to the other bank records.           So this is just another
16   bank -–
17               THE COURT: Yeah, just a repeat of whatever
18   exhibits --
19               MR. RYAN: Right.
20               THE COURT: -- we have.          Right, we don’t need to
21   repeat those.
22               MR. RYAN: Right.
23               THE COURT: Okay.         And then relevance.
24               MR. RYAN: So then we have the damaged vehicle
25   evidence and the only objections are relevance.


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                                                                             22
1                THE COURT: Okay.
2                MR. RYAN: And we can deal with those.
3                THE COURT: Okay.         So that addresses Plaintiffs’
4    joint exhibits.
5                As far as Mrs. Juravin’s exhibits, I did see
6    they reached the docket this morning.                 Maybe they were
7    sent in on Friday.        Mrs. Juravin?
8                MS. JURAVIN: Yes, they were sent late on
9    Friday.
10               THE COURT: Okay.
11               MS. JURAVIN: And most of my exhibits are
12   actually pleadings from the docket.
13               THE COURT: Okay.         Do you have copies, Mr. Timko
14   and Mr. Ryan?
15               MR. TIMKO: So I believe Anna Juravin’s
16   documents deal with the Trustee’s issues, not my -–
17               THE COURT: Right.
18               MR. TIMKO: -– part of this, this case.                 But -–
19               THE COURT: Right.        Your case is not against
20   her.
21               MR. TIMKO: Yeah.         Well, we -– what we did
22   receive is that we received emails.             Well, actually did I
23   even receive?     Yeah, we received emails late in the day
24   on Friday with -– with her exhibits, but you can -– you
25   can address.


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                                                                            23
1                MR. RYAN: Yeah.      So with regards to Mrs.
2    Juravin’s exhibits, we didn’t get anything until Friday
3    afternoon, and it was voluminous and it’s, you know,
4    court dockets and things, you know.             Most of it was -– I
5    couldn’t make heads or tails how it has anything to do
6    with the case, but certainly we didn’t get an opportunity
7    to review it and look at it closely and to go through
8    each one and discern what we would let in and what we
9    would have to object to.        But just by being deprived of
10   that opportunity to -– to review all those documents at
11   the last minute, I think that they shouldn’t be allowed
12   in.
13               THE COURT: All right.         Mrs. Juravin.
14               MS. JURAVIN: I -– because of those issues with
15   Don have and -– and other relating circumstances, I just
16   couldn’t -– I wasn’t able to get them in on time.
17               THE COURT: Are they the same as your husband’s
18   exhibits?
19               MS. JURAVIN: No.         He created his own and I
20   submitted mine.     Maybe there is some overlapping.
21               MR. TIMKO: There’s also some overlapping issues
22   that I’m aware of between both sets of exhibits.
23               MR. RYAN: Right.
24               MR. TIMKO: So can I address that issue so we
25   can kind of -– because it might help you to -–


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                                                                                 24
1                THE COURT: Yeah, go ahead.
2                MR. TIMKO: -– make your decision.
3                So we were able to file objections to Mr.
4    Juravin’s exhibits.       Now with -– they didn’t break up the
5    exhibit by exhibit.       They did broad categories.             So -–
6                THE COURT: Right.        I noticed that.         It was
7    difficult.
8                MR. TIMKO: -– it’ll be like 500 pages.                Like
9    there’s -– and I haven’t studied Mr. -– I mean, I briefly
10   looked at them but they’re similar in this respect.                    So
11   they didn’t break them down by -– by exhibit, like, you
12   know, Exhibit 74, Exhibit 75.           They just said, you know,
13   Juravin and it would be like 500 pages or whatever it
14   was.   So there’s really no -– I don’t even know how to
15   handle these exhibits in trial.
16               Now we did object to Mr. Juravin’s exhibits.
17   They were all filed late under the scheduling order.
18   Your Honor was very specific that the exhibit exchange
19   should happen seven days before the -– before the trial.
20   Now in fairness to Mr. Juravin -–
21               THE COURT: The holiday complicated things.
22               MR. TIMKO: Right, right.           So -–
23               THE COURT: Normally they would have been due on
24   Monday.
25               MR. TIMKO: -– I was going -– I was going to


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                                                                                 25
1    raise that first.
2                THE COURT: Yeah.         I was not going to hold that
3    against him.
4                MR. TIMKO: Right.        But he did file several on
5    the 20th, which would be after that date, but -– well, as
6    far as I know, he did not file an Exhibit 1 or 2.                      He
7    filed Exhibit 5 after our objection deadline or showed up
8    on the docket.     I don’t know.        There was some confusion
9    there.   So we didn’t list an objection to that one, but
10   we object.
11               The way the exhibits are mixed, there’s -–
12   well, there’s actually a specific issue you should also
13   be aware of.     The UMGI business records is primarily
14   consumer health questionnaires, with all their -– their
15   health records and some of them actually -– well, it’s a
16   questionnaire where they say, you know, my, you know,
17   their body mass index and all their -–
18               THE COURT: Right.
19               MR. TIMKO: -– preexisting conditions, all those
20   issues, and while it may not necessarily have their name
21   specifically on there, there’s email addresses where you
22   can tell who the person is.          You may want to seal those
23   or take them off the docket or something just to protect
24   those people’s confidentiality.
25               THE COURT: Which exhibit is that?


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1                MR. TIMKO: That is Exhibit 3, UMGI Business.
2    That’s Docket Number 400 to 400-6.
3                The rest of the exhibits, you know, they
4    include hearsay, there’s relevance issues, there’s
5    authenticity issues, but there’s no way to go through
6    each document and submit that specific objection.                      Some
7    of the documents honestly are helpful to us.
8                THE COURT: Well, I guess that’s the question.
9                MR. TIMKO: Yeah.
10               THE COURT: With Mr. Juravin’s documents and Mr.
11   Juravin is not here, do you wish to allow any of those
12   into evidence or are we -– are you -– because I think
13   your objection was to all of them, correct?
14               MR. TIMKO: Our objection was to all of them and
15   then we were going to try to talk to Mr. Juravin before
16   the trial and try to figure out what and talk to you and
17   try to figure out the best way to deal with it.                  And I
18   even brought copies of all of these exhibits in case we
19   wanted to go -- to go through them.
20               There is one specific -– well, I think the bank
21   records -– so there were bank records that we requested
22   that we may or may not have received or the Trustee may
23   or may not have received through discovery.                 So the bank
24   records we would like in, and we can identify.                  I mean,
25   I guess we can do a supplemental filing and say these


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1    bank records we don’t object to.
2                There’s a specific Declaration in one of the
3    exhibits.    I have it in my binder.           I can specify that
4    one now if you’d like, that I would be happy to have in.
5    I think that covers it.        Is there anything else?
6                MR. RYAN: I have to find the specific page,
7    but I think the communication between Mr. Bartolone and
8    Mr. Juravin about the disagreement between them over
9    whether or not, you know, getting the Google Gmail
10   account was sufficient and why do I have to give them the
11   documents, too.
12               THE COURT: Okay.         So let me ask you this.           Are
13   you intending to use any of those documents with your
14   witnesses today?
15               MR. TIMKO: Not -– I am not planning on using
16   any of them today.        I was planning on using one of them
17   on Wednesday if Mr. Juravin’s here.
18               THE COURT: Okay.         Mr. Ryan.
19               MR. RYAN: Probably not.          I think that, you
20   know, Mr. Balot’s testimony will be enough.                 But if there
21   was ever doubt, I would probably just refer to it in the
22   written closing argument.
23               THE COURT: Okay.         What I suggest then is you
24   take the time either after trial today, probably for the
25   best, because if Mr. Juravin’s not going to participate,


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1    I don’t -– I don’t know how quickly this might go, to go
2    through and see what you would stipulate to and if it’s,
3    you know, as an example, Exhibit 5, pages blank through
4    blank, then let’s do that.
5                MR. RYAN: Right.
6                THE COURT: I realize they may not be
7    consecutively numbered and so that’s going to be a
8    challenge, but see what you can come up with as a list
9    and then we can go through it.
10               As for Mrs. Juravin’s exhibits, they were filed
11   substantially late.       I was going to give you the benefit
12   of the doubt.     If they are exhibits that the Plaintiffs
13   have because they have Mr. Juravin’s exhibits, then I was
14   going to give you a pass, but we’re not able to identify
15   that today.
16               What I will do is, to the extent your exhibits
17   are simply pleadings from this case and -–
18               MS. JURAVIN: Exhibit 10 and Exhibit 11, those
19   are Trustee’s productions.           Those are Trustee’s
20   documents.
21               THE COURT: All right.         So 1 it says is a docket
22   report.   I don’t have a problem with that if it’s the
23   docket from this case.        I haven’t gone back and looked at
24   every single exhibit here, because I can take judicial
25   notice of that.


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1                MR. TIMKO: Yeah.         I don’t think we -– just to
2    make your life easier, Your Honor --
3                THE COURT: Um-hum.
4                MR. TIMKO: -- and I don’t think speak -– Mr.
5    Ryan can confirm whether or not, but as far as the -– oh,
6    actually these are all Anna’s exhibits.                I’m sorry.       I’m
7    not involved in this.
8                THE COURT: These are all Mrs. Juravin’s
9    exhibits.
10               MR. TIMKO: My bad.
11               THE COURT: Yeah, that’s okay.              It’s a little -–
12   this case is a little complicated that way.
13               So that will be the docket.               Now, the only
14   caveat here is I haven’t actually looked at these in
15   detail, but if they are what they purport to be on the
16   witness -– on the exhibit list, I have no problem with
17   them.
18               Number 1, the docket report; Number 2, copies
19   of the Complaints in 21-ap-142 and 22-ap-19, and the
20   pleadings regarding the settlements that were entered
21   into with PSR and Natural Vitamins, I have no problem
22   admitting those.      That’s all part of Exhibit Number 2.
23               Exhibit Number 3, the Original Complaint or
24   the Complaints filed in 21-ap-103, I’ll admit those.
25               Exhibit Number 4, Mrs. Juravin’s motion for


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1    summary judgment, I’ll admit that.
2                Number 5, I don’t know what the Certificate of
3    Compliance is, Mrs. Juravin.          Is it the actual documents
4    that were produced?
5                MS. JURAVIN: Yes.        That was the subpoena.            That
6    was the first time that I was subpoenaed by the creditor
7    DCS in the main bankruptcy case in 2019, and that is the
8    subpoena and then the compliance and then the documents I
9    provided to them.
10               THE COURT: Okay.         I’m not going to allow that
11   because, one, just the -- if you want to reference in
12   your testimony what you did in response, you know, and
13   the circumstances, that’s fine.           But the documents
14   themselves, just because they were produced, doesn’t make
15   them admissible; and because the deadline was missed,
16   Plaintiffs don’t have a copy of those documents for
17   today, I’m not going to allow Exhibit Number 5.
18               Exhibit Number 6 says that it’s the Trustee and
19   Bella Collina’s motions for summary judgment and related
20   documents.    I take it those related documents are the
21   documents that they submitted in support of summary
22   judgment; is that correct?           You say related.
23               MS. JURAVIN: Exhibit 6, Your Honor, could you
24   repeat that?
25               THE COURT: It says it’s the motions for summary


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1    judgment that the Plaintiffs filed.
2                MS. JURAVIN: Yes.        Those are the BCPOA summary
3    judgments.
4                THE COURT: Okay.         And it says, and related
5    documents.    What are the related documents?
6                MS. JURAVIN: They filed, I think, a couple of
7    supplements.
8                THE COURT: Okay.         Because those are pleadings,
9    I will admit those.       Exhibit Number 6.
10               Exhibit Number 7, Plaintiffs Emergency Motion
11   for Order to Compel and for Sanctions, the order granting
12   it, the motion to limit deposition hours.                I’ll admit all
13   that, Exhibit Number 7.
14               Exhibit Number 8 just says MCO Warehouse.                  I
15   took a quick look at it.        It looks like some bills of
16   lading, et cetera.        I’m not admitting those.
17               Number 9, ex parte motions, Docs. 439, 441,
18   including Exhibit 490, and then miscellaneous.                  I don’t
19   know what miscellaneous is.          To the extent we can revisit
20   this, Mrs. Juravin, if you need to, you feel like there’s
21   some benefit to having the specific pleadings in
22   evidence.    I can take those into evidence, and I will
23   take judicial notice of all my pleadings --
24               MR. RYAN: Okay.
25               THE COURT: -- to the extent anyone wants to


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1    reference those.      All the pleadings on the docket in the
2    bankruptcy case.      But there are other things involved in
3    there, so I’m not going to admit Exhibit Number 9.
4                Exhibit Number 10, Trustee’s production to the
5    Defendant’s discovery request.           I’m not admitting that.
6                Exhibit Number 11, Trustee’s exhibits used at
7    the deposition of the Natural Vitamins representative,
8    I’m not admitting that.        There’s no basis, and because
9    those weren’t provided as required by my order, I’m not
10   admitting those today.
11               Okay.   Ms. Johnson, were you able to get all
12   that?   Okay.    All right.
13               So we dealt with those exhibits.              As far as
14   since Mr. Juravin’s not here, I’ll hear from you tomorrow
15   on what you want to stipulate to within those.
16               MR. RYAN: Okay.
17               THE COURT: But other than that, they’re not
18   going to be admitted.        Okay?
19               MR. RYAN: Okay.
20               THE COURT: Because he’s not prosecuting.                   If he
21   shows up tomorrow, maybe I’ll change my mind.                 But for
22   today’s purposes, we’re not going to use those.
23               All right.     Other housekeeping issues before we
24   get into evidence.
25               MR. TIMKO: The only -– I mean, there’s a few


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1    pending motions.      I believe there’s a Daubert motion in
2    limine motion that’s pending.
3                THE COURT: Yes.      And it deals with Mr. Balot’s
4    qualifications as an expert.          The issues that arose
5    during his deposition.        My intent, I did set that
6    intentionally for today.        My intention is to address
7    those once I hear from Mr. Balot what his qualifications
8    are, and we can address those as they come up.
9                I think that one of the other issues that was
10   raised, too, is whether the report that was provided was
11   sufficient to meet the requirements of Rule 26(a)(2),
12   right?
13               MR. RYAN: Correct.
14               THE COURT: If you want to address that now, you
15   can.   Otherwise, I think we just take all that up when
16   you put Mr. Balot on the stand.
17               MR. RYAN: I think we can take it all up.                   I
18   mean, one of the things was it didn’t have an ink
19   signature, but it did have his name on it so.                 But I
20   think we can do it all then.
21               And then, there was the -– the other motion
22   that you set for this morning was whether or not he was
23   going to be able to use these depositions that were not
24   transcribed by the court reporter that took the
25   testimony.    And the problem that I have with them is that


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1    when you read them you can see there are places where
2    it’s the court reporter that’s speaking and it’s that’s
3    not how it’s identified on the transcript.                And then
4    there are other places where they just stopped
5    transcribing and they, you know, put a timestamp on.                   I
6    guess they couldn’t figure it out.             So we’ve got an
7    incomplete.
8                THE COURT: Yeah, and it may be moot to really
9    deal with that because that -– it’s a little convoluted
10   what goes to what, right?        But as I understand it, Mr.
11   Balot’s testimony goes to the issue of the motions.
12               MR. RYAN: Correct.
13               THE COURT: The motion to sanction Mr. Juravin,
14   which is not Mrs. Juravin, right?
15               MR. RYAN: Right.
16               THE COURT: And Mr. Juravin’s not here.
17               MR. RYAN: Right.
18               THE COURT: And so I doubt anyone’s going to try
19   to use that transcript.        If they do, then I’ll address
20   it.   But, yes, I am concerned, and I was hoping to hear
21   from Mr. Juravin today, one of the reasons I reserved it
22   was to find out exactly what happened and who transcribed
23   this and in what fashion.        I was -– I was -–
24               MR. RYAN: And -–
25               THE COURT: -– remarkably confused by -– by that


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1    transcript.
2                MR. RYAN: Yeah.      And it wasn’t just Mr. Balot.
3    That’s the first one he did.          But eventually he did the
4    same thing with regards to the testimony given by Mr.
5    Greene and I thought one other person, Mr. Kelleher.
6                MR. TIMKO: Mr. Kelleher wasn’t deposed.
7                MR. RYAN: Okay.
8                THE COURT: Okay.
9                MR. RYAN: So Mr. Greene.
10               THE COURT: And the only reason I guess I didn’t
11   talk about those, because I don’t think I’ve seen that
12   transcript, so but we’ll address that as it comes up.
13               MR. RYAN: Yeah.      That’s what I was thinking.            I
14   just wanted to mention it because you scheduled it.
15               MR. TIMKO: I think it was attached to one of
16   his -–
17               THE COURT: Was it attached?               Okay.
18               MR. TIMKO: I think it was attached to one of
19   the -– which motion, I don’t know, but it was attached to
20   one of the motions.       I do recall seeing it.
21               THE COURT: Yeah.         Okay.   All right.
22               Mrs. Juravin, any other housekeeping issues you
23   want to raise today before we get started?
24               MS. JURAVIN: No, Your Honor.
25               THE COURT: Okay.         And just because I didn’t


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1    mention it before, there wasn’t a -– I said we’re going
2    to proceed with trial after reviewing the documents that
3    Mrs. Juravin presented to me.           I do want to just put it
4    on the record, even though there was -– wasn’t really a
5    request for a continuance, kind of sort of, so the
6    Eleventh Circuit does provide that this Court has broad
7    discretion in deciding whether to continue cases,
8    continue trials, and some of the factors that we consider
9    is whether the parties had plenty of time to prepare for
10   trial, the prejudice, the prejudice to not only the party
11   seeking the continuance but to the other parties that are
12   prepared and whether the continuance would resolve some
13   of the problems that are arising.
14               As the parties know, these cases have been
15   pending for -– some of them for more than two years.
16   This is the second, if not the third time I’ve tried to
17   conduct a trial on these matters.            Last time was, I
18   think, scheduled for November.           We came here in October
19   and at Mr. Juravin’s request, due to some circumstances
20   outside this courtroom, the Court granted that
21   continuance, which gave the parties another three months
22   to prepare, and the fact that Mr. Juravin contended he
23   wasn’t prepared for trial really was of his own doing.
24   He had sufficient time to prepare for trial.
25               The issues that have been raised to me today


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1    regarding Mr. Juravin’s health condition don’t convince
2    me that he’s unable to be here for trial today.                   So we’ll
3    just leave that at that.        Okay.     With that, Mr. Timko, do
4    you have something else?
5                MR. TIMKO: I just -- only because this might
6    save time for witnesses and court time and our clients’
7    money, I do see value in going ahead today, although Mr.
8    Kennedy does have some health issues.                 There’s a case,
9    the Eleventh Circuit has held that the failure to appear
10   at a duly scheduled trial after months of preparation by
11   the parties and by the trial court is a serious enough
12   offense for which the entry of a default is appropriate.
13   And I’m just throwing this out there just for the reasons
14   that I said before.
15               A thought is that, you know, we’ve already
16   submitted two motions for summary judgment, we already
17   had the depositions of, at least on our side, of
18   everybody except for Mr. Kennedy and Mr. Greene.                   We
19   would be happy to submit declarations and draft, I guess,
20   a proposed order or judgment or whatever you want to call
21   it along with all the citations to the record to save
22   time on the trial.        If you enter the default, then it
23   would be up to Mr. Juravin to file a motion for
24   reconsideration under Rule 55(c).            And then if he did
25   that and lost, then he could appeal.              I don’t know if


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1    that helps with the procedural issues.                I don’t know if
2    that clarifies things for you, but it would save us all a
3    lot of time.     Well, I have the right to closing either
4    way.   So it would save a lot of time -–
5                THE COURT: Right, right.
6                MR. TIMKO: -– and money and effort.
7                I understand with respect to the sanctions
8    motion, which is not my motion, why, and Mr. Balot came
9    here from California -–
10               THE COURT: Right.
11               MR. TIMKO: -– so you may want to hear his
12   testimony, but I do know that Mr. Kennedy is having -–
13   he’s having a hard time.        So having a declaration from
14   him may be -– I mean, as a Chapter 7 Trustee he’s been
15   doing this for, I don’t know, 20, 30 years -– may be
16   helpful.
17               Mr. Greene’s testimony is relatively short and,
18   I mean, really he was the BCPO -– I’ll tell you exactly
19   what he’s going to testify to.           He was the BCPOA
20   president at the time that the NVLC money was discovered,
21   and he’s going to basically provide the same testimony
22   that was already by Mr. Kelleher in connection with our
23   motion for summary judgment, and he also helped pick up
24   some cars that were purchased from the estate and
25   destroyed.    When they went to pick them up, the cars were


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1    destroyed.    So he would testify that he saw the cars
2    before they were sold and they looked great, and after
3    they were sold, they were literally destroyed.
4                The other person would be Anna Juravin, who we
5    already have our deposition of, and it would be basically
6    covering the same things that were already addressed in
7    the deposition, and she’s already taken a Fifth on two of
8    the major questions in that issue, and there’s case law
9    saying you can’t take the Fifth at a depo and then change
10   your trial testimony.
11               So I want to make sure that you’re comfortable.
12   I know you brought up credibility in those issues in the
13   past, so I want to make sure that you’re comfortable of
14   what we’re doing.         But I also -– I don’t know how much
15   we’re really adding without Mr. Juravin here.                  So that’s
16   –- and my last witness was going to be Mr. Juravin.                     And
17   due to the fact that in his last motion he says, you
18   know, he’s scared of being incarcerated and those things,
19   and how unresponsive he was on deposition, my guess is he
20   genuinely doesn’t want to testify.
21               Actually, along those roads, can I share one
22   more thing with you?
23               THE COURT: Well, I want to -– so let’s explore
24   this for a second.
25               MR. TIMKO: Yeah.


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1                THE COURT: I fully expect that Mr. Juravin will
2    appeal whatever my ruling is, provided I rule in his
3    favor -- or, I mean, I don’t rule in his favor -–
4                MR. TIMKO: Right.
5                THE COURT: -– that he will appeal.               Obviously,
6    if I ruled in his favor, there wouldn’t be anything to
7    appeal, although that hasn’t stopped him before.                  We’re
8    here.
9                MR. TIMKO: Um-hum.
10               THE COURT: It seems to me we could go pretty
11   quickly.    My preference would be to have you just go
12   ahead and put on evidence.           Because the other -– one of
13   the other issues that I noted in going back and looking
14   at the summary judgment pleadings, which I didn’t
15   address, is that I don’t think they addressed the
16   affirmative defenses that he did raise.               Whether you
17   think they’re affirmative defenses or not, they at least
18   have to -- we have to go through them.                For instance, one
19   of them is the idea that the HOA or POA didn’t properly
20   approve or authorize filing the Complaint.                Now you may
21   argue that that’s not, that doesn’t equate to lack of
22   standing, but it is on there as affirmative defense and
23   no one’s addressed it yet.           And so the Court would have
24   to address that before I could rule.              So those are just
25   the types of things that came up as I was looking this


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1    over.
2                What, who, how are you planning to proceed
3    today?   Which witnesses were going to go first?                  Mr.
4    Timko’s witnesses?
5                MR. TIMKO: It was going to -– it was going to
6    be Mr. Balot who’s -–
7                THE COURT: Okay.
8                MR. TIMKO: -– who’s here.
9                THE COURT: Yes.
10               MR. TIMKO: And Mr. Kennedy.               And then tomorrow
11   it was going to be the gentlemen from NVLC, Mr. Arora and
12   Mr. Medina, and then we were going to follow up with
13   probably Mrs. Juravin, and then it would be Mr. Greene
14   and Mr. Juravin.
15               And, you know, with respect to the affirmative
16   defenses, you’re right, we didn’t address many of them,
17   but they didn’t -– I mean, the burden is on the Juravins
18   to raise those.     So they didn’t pursue them.
19               THE COURT: Agree, but in summary judgment you
20   have to address them.
21               MR. TIMKO: I might disagree with you on the
22   case law, but I’ll get -– I’ll come back on that one
23   because now I’m curious.
24               THE COURT: Yeah.         I think generally speaking
25   you’re supposed to address them, but okay.


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1                So what you’re proposing then, Mr. Timko, is
2    that I allow you to present direct testimony that’s not
3    already preserved via deposition by way of declarations.
4                MR. TIMKO: Correct.         And take -– and take Mr.
5    Balot’s testimony today since he’s here, and that’s all.
6                THE COURT: Well, I’m just referring to your
7    case.
8                MR. TIMKO: Right.        No, no, I know.         But it also
9    ties into our case as well -–
10               THE COURT: Okay.         Okay.
11               MR. TIMKO: -– because of the sanctions.                    And,
12   you know, one of the things about showing fraud in a -–
13   whether a party had fraudulent intent is to show how they
14   acted during the bankruptcy case, the surrounding
15   circumstances, totality of circumstances.                And certainly
16   destruction of documents does show his intent to -– his
17   intent towards the bankruptcy case, the trial, and how to
18   conduct himself.      So it does tie into that.             But, yeah,
19   that, that was my thought process.             And we can -– we can
20   still call everybody.        But like, for example, Mr. Medina
21   and Karan Arora are coming up from West Palm Beach
22   tomorrow -–
23               MR. RYAN: Dade County.
24               MR. TIMKO: Oh, Dade County?
25               MR. RYAN: Yes.


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1                MR. TIMKO: Oh, I thought it was West Palm
2    Beach.   Okay.    So Dade County, a little further.
3                Mr. Greene has other business things that he
4    needs to do.     So I’ve been texting him back and forth
5    trying to figure out what the best time for him to show
6    is.   You know, if Mr. Juravin’s not going to show here
7    now -–
8                THE COURT: Well, here’s the -– here’s the
9    difficulty, is as to your case, Mr. Timko, against Mr.
10   Juravin, he is the only Defendant and he is not here.                  So
11   you’re right, I probably could just -–
12               MR. TIMKO: Right.
13               THE COURT: -– move forward on default against
14   him with a default judgment.
15               As to the other cases, all four of them I think
16   we have, Mrs. Juravin is a Defendant in those cases, and
17   we need to move forward with allowing her to defend
18   herself.    Some of this also presumes that I am going to
19   issue a sanctions order based on the ESI.                I don’t know
20   what I’m going to do on that at this point.                 So I need to
21   hear that evidence.       So I think that procedurally for all
22   of us it’s best just to go ahead and go forward.
23               MR. TIMKO: Okay.
24               MR. RYAN: I’d just like to also add one thing.
25               THE COURT: Yes.


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1                MR. RYAN: I think that the Trustee is entitled
2    to defaults as against Juravin Incorporated, JINC and
3    UMGI.    They’re all parties to these cases.              They have not
4    appeared since their attorney withdrew.               They’ve not
5    participated in anything since their attorney withdrew.
6    They’re not represented today.
7                THE COURT: They’re not represented today.                  And
8    I think you’re right, it’s just we need to proceed as
9    against Mrs. Juravin, and I don’t know how much of a
10   difference that makes in your presentation.
11               MR. RYAN: Not much.         Just, at the end of the
12   day, the evidence with regards to her is going to have to
13   be heard, and I just wanted to clear up the housekeeping.
14               THE COURT: Yeah.         Understood.      It’s a messy
15   situation, and I admit perhaps if we weren’t consolidated
16   it might be a little bit easier to pull pieces apart.
17   But we are -- we’re here, we did that to try and promote
18   judicial economy, and so we’re kind of stuck with it
19   today.
20               If you can figure out, especially after today’s
21   courtroom -– court, if you figure out a way to make it go
22   faster, I’m all for that.         But I think we do need to go
23   ahead and proceed.        Okay?
24               MR. RYAN: Okay.       Would it be possible to take
25   five minutes between -–


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1                THE COURT: You want to regroup?
2                MR. RYAN: -– between now and when we actually
3    put Mr. Balot on the stand so that we can talk about if
4    there are some adjustments we should be making and how we
5    proceed?
6                THE COURT: Yes.
7                MR. RYAN: Okay.
8                THE COURT: And that is right now, right?
9                MR. RYAN: Yes.
10               THE COURT: He’s going to be your first witness?
11               MR. RYAN: Yes.
12               THE COURT: Okay.         Then let’s take a break. It’s
13   11:00 o’clock.     Let’s take about five or ten minutes.
14   Okay.    Let me know when you’re ready.
15               MR. RYAN: Thank you, Judge.
16               THE COURT: All right.         Thank you.
17               MR. TIMKO: Thank you, Your Honor.
18               COURTROOM DEPUTY: All rise.
19               (Thereupon, a brief recess was taken, after
20   which the following proceedings were had.)
21               COURTROOM DEPUTY: All rise.               Court is back in
22   session.
23               THE COURT: You may be seated.
24               MR. RYAN: Plaintiff calls Charlie Balot to the
25   stand.


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1                THE COURT: All right.         Mr. Balot, come on up to
2    the witness stand.        You will stand behind the box there,
3    and Ms. Johnson will swear you in.
4                COURTROOM DEPUTY: Please raise your right hand.
5                Do you solemnly swear or affirm that the
6    testimony you are about to give is the truth, the whole
7    truth, and nothing but the truth so help you God?
8                THE WITNESS: I do.
9                COURTROOM DEPUTY: Please state your name and
10   address for the record.
11               THE WITNESS: Charles Balot, 9032 West 25th
12   Street, Los Angeles, California, 90034.
13               THE COURT: All right.         Have a seat.        And just
14   make sure when you’re testifying that you speak into the
15   microphone so it’s on our recording.
16               THE WITNESS: Yes, Your Honor.
17               THE COURT: Okay.
18               MR. RYAN: I have exhibits.
19               THE COURT: Yes.      You may approach the witness.
20               THE WITNESS: Thank you.
21               THE COURT: Okay.         What is making that noise?
22               MR. TIMKO: Oh, I think your computer -–
23               MR. RYAN: I was wondering --
24               MR. TIMKO: -– your computer is making a beep
25   for some reason.


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1                THE COURT: Ah, okay.
2                MS. JURAVIN: Mr. Ryan, are those exhibits
3    included in the big folder that you’re going to refer to
4    now?
5                THE COURT: Hold on just a second.                Let him see
6    if he can figure that out.
7                MR. TIMKO: May I assist Ms. Juravin real quick?
8                THE COURT: Yes.
9                (Thereupon, a brief pause in proceedings)
10               THE COURT: Is your computer giving you an error
11   message, Mr. Ryan?
12               MR. RYAN: I’m not getting any message.                 I’m
13   just hearing the dinging.
14               MR. TIMKO: It’s connecting.               That’s the sound
15   it makes when it connects and unconnects.
16               THE COURT: Yeah.
17               MR. TIMKO: So it may be --
18               THE COURT: So it’s connecting and
19   disconnecting.
20               MR. TIMKO: So it may be -– here.               Jim Timko IT
21   department.
22               THE COURT: All right.         That sounds better.
23               MR. RYAN: Let’s hit restart as well.
24               THE COURT: Okay.         We’re ready?
25               MR. RYAN: I think -– I think so.


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1                THE COURT: Are we having more technical issues
2    or is something else going on?
3                MR. RYAN: Yeah.       Not with the WiFi.           Just
4    finding the -- getting back to where I was.                  Got it.
5                So there’s only three exhibits that I’ll need
6    to use this for, and it’s because the ability to move
7    around through the paper document is much more difficult
8    than the electronic version.
9                THE COURT: All right.
10               MR. RYAN: It’s so long.           And that doesn’t start
11   until Exhibit 7.      So I’ll start without it.
12               THE COURT: Okay.
13               MR. RYAN: Okay.
14               THE COURT: All right.          Please proceed.
15               MR. RYAN: Okay.
16   THEREUPON:
17                               CHARLES BALOT
18   having been previously duly sworn, was examined and
19   testified as follows:
20                             DIRECT EXAMINATION
21   BY MR. RYAN:
22        Q      Mr. Balot, would you please tell the Court a
23   little bit about your educational and professional
24   experience?    What do you do for a living?
25        A      I run a company called Online Security that


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1    provides electronic discovery services both from a
2    technical and consulting perspective, particularly to law
3    firms and lawyers and C-level executives.
4         Q      Okay.   And how long have you been doing that?
5         A      This iteration of our company was created in
6    1997.    Prior to that, we were a database programming
7    company.
8         Q      Okay.   And just putting a number to it, how
9    many years -–
10        A      That would -–
11        Q      -– how many years total?
12        A      -– be 27 years.
13        Q      Okay.   And did you have to get any specialized
14   training to enable you to be able to do what you do?
15        A      My training, at least in this portion of my
16   business, has been over the 27 years that I’ve been
17   involved in it, running the company and being a hands-on
18   practitioner.
19        Q      Okay.   And is Online Security a big company or
20   a small company?
21        A      No, presently we’re just a company of three
22   people.
23        Q      Okay.   And do you supervise the other
24   employees?
25        A      Yes, I do.


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1         Q      Do you supervise all their work?
2         A      Yes.
3         Q      Okay.   And do you oversee and answer questions
4    from them about their particular work?
5         A      Yes, when they’re posed to me.
6         Q      Okay.   And have you had an opportunity to
7    provide professional testimony in court before?
8         A      Yes, I have in the past.
9         Q      Okay.   And you’ve testified with regards to
10   recovering electronically stored information?
11        A      Yes, I have.
12        Q      Okay.   And have you had an opportunity to read
13   and review the order that was issued with regards to the
14   work you were supposed to do with regards to the Juravin
15   devices and accounts?
16        A      Yes, I did.
17        Q      Okay.   And was that an important aspect of you
18   being able to do your work?
19        A      We read and review those types of orders
20   constantly in the work that we do, and it’s a must that
21   we review it so that we have a roadmap to follow in terms
22   of what we do in a case, yes.
23        Q      Okay.   And did that case require you to review
24   devices that were provided to you from Mr. Juravin’s
25   home?


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1         A      As I read it, yes.
2         Q      Okay.   And were you also required to review
3    what I’ll just refer to as cloud accounts where
4    information was stored outside the devices?
5         A      Yes.    That was part of the order as well.
6         Q      Okay.   And did you have a particular person at
7    Online Security that did all the particular keyboarding
8    and whatnot?
9         A      Yes, I did.
10        Q      Okay.   And who was that?
11        A      That would be Richard Gralnik.
12        Q      Okay.   And when Richard Gralnik was doing the
13   technical work of connecting peripherals and searching
14   and whatnot, were you overseeing every aspect of what he
15   was doing?
16        A      Yes, I would, on a daily basis.
17        Q      Okay.   And did you participate in preparing the
18   inventory of the devices that you took in?
19        A      The inventory was prepared by both me and Mr.
20   Gralnik.
21        Q      Okay.   And did you review every single device
22   that came in and that was listed on that inventory?
23        A      In terms of the physical evidence, yes.
24        Q      Yeah.   Okay.     And with regards to, in
25   particular, the Google Cloud account, did you participate


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1    in determining how that Google Cloud account would be
2    searched?
3         A      Well, that account was going to be searched, as
4    far as I can recollect, based on what the order called
5    for, based on keywords and keyword phrases.
6         Q      Okay.   So in order to do that search, you
7    compare the information that’s typed into your system to
8    the information that’s required by the ESI order?
9         A      That is correct.
10        Q      Okay.   And does Mr. Gralnik have to come to
11   you when he finishes inputting the search terms so he can
12   determine what exactly your company is going to look for
13   in the Juravin data?
14        A      Well, he and I both work together inputting
15   those search terms together.
16        Q      Okay.   So you have personal knowledge of the
17   information that was used to search the Juravin database?
18        A      Yes, I do.
19        Q      Okay.   And when you -– when the company did get
20   access to the Google Drive account, did you personally
21   look and see what was in that Google Drive account?
22        A      There were points, yes, where I reviewed what
23   was in that account.
24        Q      Okay.   And one of the things that’s at issue
25   today is something called a Google Activity Log.


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1                Did you look at the online version that Google
2    maintained with regards to the activity in the Juravin
3    Google Drive account?
4         A      Not every day, but there were points where I
5    did review that, yes.
6         Q      Okay.   And with regards to making, you know, an
7    exhibit that would demonstrate what was -– what Google
8    was reporting as the activity at that time, is that a
9    process that you have to run, or is it just a matter of
10   transferring a copy from the cloud account down to a hard
11   device?
12        A      I would call it transferring the data and then
13   putting it into a format that’s readable.
14        Q      Okay.   And so once you download or transfer
15   that information to something that’s outside of Mr.
16   Juravin’s cloud account, were you able to tell whether or
17   not the transferred file that you had was the same as
18   what Google was reporting as activity in the Juravin
19   cloud account?
20        A      Yes.
21        Q      Okay.   Before this case started, did you have
22   any prior relationship with the Trustee, any of his
23   counsel, or any party to this case?
24        A      No, I did not.
25        Q      Okay.   In the process of working on the Juravin


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1    devices and cloud accounts, did you have an opportunity
2    to communicate with either Mr. Juravin or his attorney,
3    Mr. Bartolone?
4         A      I never directly contacted either one.                No.
5         Q      Okay.   But did you communicate with them?
6         A      No, I did not.
7         Q      Okay.   Did you monitor the communications that
8    were had with them?
9         A      Yes, I did.
10        Q      Okay.   Are you aware of whether or not your
11   company had difficulty getting access to the Google Drive
12   account?
13        A      Yes.    Mr. Gralnik expressed frustration to me
14   on multiple occasions in terms of being able to access
15   the cloud accounts.
16        Q      And did you review any emails between Mr.
17   Juravin and Mr. Gralnik with regards to that problem?
18        A      Yes.    Part of the process within our company is
19   that I am CC’d on all communications on cases.                  So I was
20   reviewing that.
21        Q      Okay.   So as far as the actual work, you
22   supervise it.      With regards to the communications, you
23   monitor it.
24        A      Correct, sir.
25        Q      Okay.   I’d like to draw your attention to


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1    what’s marked as Exhibit 1 in the book.               Do you recognize
2    that document?
3         A      Yes, I do.
4         Q      Okay.   And is that the ESI order that we were
5    talking about earlier that gave you your instructions on
6    how to handle the Juravin devices and cloud accounts?
7         A      Yes, it is.
8         Q      Okay.   And do you know whether or not the work
9    you did on the Juravin devices and cloud accounts was
10   conformed to the information that you were required to do
11   or the directions you were given by this order?
12        A      To the best of our ability, yes.
13        Q      Okay.   Once you ran a search of the Google -–
14   I’m sorry -– the Juravin devices and cloud accounts, what
15   do you -– what did Online Security do with the responsive
16   material?
17        A      Responsive material is then taken and put into
18   an online cloud repository, which would allow outside
19   parties to be able to review it.
20        Q      Okay.   And do you know whether or not Mr.
21   Juravin’s attorney, Mr. Bartolone, was given access to
22   those accounts before the Trustee was given access to
23   those accounts?
24        A      To the best of my recollection, yes.
25        Q      Okay.   And when you say an online account, is


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1    that referred to as a GoldFynch account?
2         A      Yes.    That is the system that we use for that
3    purpose.
4         Q      Okay.   So, ultimately, did all of the material
5    that was responsive from the Juravin devices and accounts
6    end up being placed in a GoldFynch repository for the
7    Trustee to use?
8         A      Yes, it was.
9         Q      Okay.   Did any information that wasn’t in that
10   responsive search end up being put into that GoldFynch
11   account for the Trustee’s review?
12        A      Not that I can recall.
13        Q      Okay.   So if it was in the GoldFynch account,
14   it’s material that Online Security recovered from Mr.
15   Juravin’s devices and cloud accounts and had the words
16   and phrases and symbols that you used to search his data?
17        A      Yes.
18        Q      Okay.   I’d like you to look at Exhibit Number
19   2, please.    And attached to it -– let me see, one, two,
20   three -- I guess there’s a nine-page motion and then
21   attached to it is a Declaration by Mr. Gralnik.
22        A      Yes.
23        Q      Are you familiar with that Declaration?
24        A      Yes, I am.
25        Q      Okay.   Were you familiar with it at or about


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1    the time Mr. Gralnik wrote it?
2           A    Yes, I am.     Was, I should say.
3           Q    Did that Declaration accurately reflect your
4    understanding of the problems that were occurring with
5    regards to getting access to Mr. Juravin’s Google cloud
6    account?
7           A    I think it was very descriptive of the issues.
8           Q    Okay.   Would you please turn to Tab Exhibit 6.
9           A    I’m there.
10          Q    Okay.   Can you tell me whether or not you
11   recognize those documents?
12          A    Yes, I do.
13          Q    Okay.   And where did you get these documents?
14          A    I believe these came from one of the cloud
15   accounts of Mr. Juravin.
16          Q    Okay.   And is this a document that was
17   responsive to your search and ended up in the GoldFynch
18   account?
19          A    Yes, it was.
20          Q    Okay.   And what does this document say that it
21   is?
22          A    From what I can tell, it’s evidence of a
23   transfer of funds.
24          Q    Okay.   Okay.     Now, if we could -– let me just
25   see.


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1                Before I get to putting Exhibit 7 on the screen
2    so we can go through it more quickly, did you -– you
3    already said you reviewed the transferred Google Activity
4    Log, correct?
5         A      Yes.
6         Q      Okay.   And did you -– well, better question.
7                What does an activity log do?
8         A      Well, it depends on what it’s tracking.                    But in
9    the case of the Google account, what it tracks is access
10   to the account, who’s making the access to the account,
11   and other things such as are there edits being done or
12   how long somebody is actually on the account.
13        Q      Okay.   And does it tell you what they did when
14   they were on the account?
15        A      Well, it’s not going to tell you if they edited
16   something as an example, no, it will not.                But it will
17   say that an access was made, and it also will depict if
18   something’s been deleted.
19        Q      Okay.   Well, are you saying that it doesn’t
20   tell you what the edits were?
21        A      That’s correct.
22        Q      But it will make a notation whether or not
23   somebody viewed a file, edited a file, trashed a file,
24   or deleted a file?
25        A      That is correct.


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                                                                            59
1         Q      Okay.   So those are -– those are the four
2    activities that you could learn from reviewing the
3    activity log?
4         A      That, and there’s others as well, which I don’t
5    recall right now.
6         Q      Okay.   And with regards to deleted files,
7    isn’t it accurate that the activity log reflects that on
8    June 22nd, 2021, more than 80,000 files were deleted?
9         A      That’s what we viewed within the realm of that
10   activity log, yes.
11        Q      Okay.   And did it also reflect files that were
12   trashed or edited?
13        A      I don’t recall.
14        Q      Okay.   We’ll go through it in a second.
15               Did Online Security do anything to try to see
16   if those deleted files existed elsewhere in other Juravin
17   cloud accounts or devices?
18        A      Yes, based on the searches that we performed.
19        Q      Okay.   So, and that’s basically running a
20   search for files with the same name?
21        A      That would be correct.
22        Q      Okay.   And were you able to locate any of the
23   deleted files elsewhere in the Juravin devices or
24   accounts?
25        A      To the best of my recollection, I believe there


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1    were a handful of those.        Yes.
2         Q      Okay.   And did Online Security prepare a report
3    as to what was found elsewhere?
4         A      Yes.
5         Q      Okay.   And if you found a document elsewhere,
6    would you be able to tell whether it was identical to the
7    one that had been deleted or edited in the cloud account,
8    or might it be a different version?
9         A      No, you wouldn’t be able to tell that.
10        Q      Okay.   Did your search require you to look for
11   transfers?
12        A      I believe that was part of the process of our
13   searches, yes.
14        Q      Did your search require you to look for
15   accounts?
16        A      Yes.    We took the numeric value of accounts,
17   and that’s one of the processes we always follow where
18   there’s what’s considered financial malfeasance in a
19   case, and we just run that as all zeros but in the
20   patterns of a bank account.
21        Q      Okay.   And you search also for the word
22   “account”?
23        A      Yes.
24        Q      And did your search require you to look for
25   trust documents?


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                                                                            61
1         A      To the best of my recollection, yes.
2         Q      Okay.
3                MR. RYAN: Can we pull up the electronic
4    version?
5                THE COURT: You have to bring it up on your
6    computer.    She’s got it connected.           Right?     Should we be
7    seeing his screen right now?
8                COURTROOM DEPUTY: No, it’s not -–
9                MR. RYAN: You’re not seeing it?
10               COURTROOM DEPUTY: No, it’s -–
11               MR. RYAN: Let me do it the old-fashioned way.
12               COURTROOM DEPUTY: It’s whatever he fixed on it
13   for you earlier.      I’m not sure what our IT guy did.
14               THE COURT: Yes.      You may approach.
15               THE WITNESS: This is under 8, too?
16               MR. RYAN: Number 7.
17               THE WITNESS: Okay.
18               MR. RYAN: Okay.
19               MR. TIMKO: Do you need another copy?
20               MR. RYAN: Do we have another set of that?
21               THE COURT: Mr. Ryan, do you want us to get our
22   IT person up here to see if we can fix the screen part?
23               MR. RYAN: There’s only about a dozen or so
24   questions and I think I can do it this way.
25               THE COURT: Okay.


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1                MR. RYAN: I’m better with paper than I am with
2    technology.
3                THE COURT: Okay.
4                MR. RYAN: It’s just so hard to navigate.
5                THE WITNESS: AI is better with technology but
6    that’s not as.
7                THE COURT: So Mrs. Juravin has it?
8                MS. JURAVIN: Yes, I do.
9                THE COURT: The witness has it.              Do I have a
10   copy?
11               MR. TIMKO: Yes, Your Honor.
12               MS. JURAVIN: There was one folder here.                    I
13   think Mr. Ryan supposed to -–
14               THE COURT: Is that an extra one?
15               MS. JURAVIN: Mr. Ryan.
16               THE COURT: Mr. Ryan.
17               MR. RYAN: Yeah, I’m trying -– well, that’s -–
18               THE COURT: That’s something else?
19               MR. RYAN: -– Number 8.
20               THE COURT: Okay.
21               MR. RYAN: You know, it gets into -– that’s 7
22   here, 8's the next one.
23               THE COURT: I can pull it up on my screen if I
24   need to.    Not that I’m dying to have more paper.
25               MR. TIMKO: May I approach?


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1                THE COURT: Yes.      Please do.           Thank you.
2                MR. RYAN: In some ways it will be easier using
3    the paper.
4                THE COURT: Okay.
5    BY MR. RYAN:
6         Q      So I need you to start from the back, Mr.
7    Balot.
8         A      Okay.   Can I rise and go get my glasses?                   I’m
9    sorry, I forgot to bring them up here.
10               THE COURT: Oh, yes.         Go right ahead.
11               THE WITNESS: They’re in my briefcase.
12               MR. TIMKO: Do you want me to bring your
13   briefcase over there?
14               THE WITNESS: That’s good.           Thank you.
15               MR. TIMKO: You’re welcome.
16               MS. JURAVIN: I think the Judge needs the next
17   folder --
18               MR. RYAN: Okay.
19               MS. JURAVIN: -– because the continuation --
20               THE COURT: Hold on.
21               MR. RYAN: I see what happened.
22               MS. JURAVIN: -– the continuation of Exhibit 7
23   is in the other folder.
24               THE COURT: Oh, there’s more than -– oh, okay.
25   Got it.   Thank you.


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1                MR. TIMKO: I thought it was easier than what it
2    was, Your Honor.
3                THE COURT: That’s all right.
4                MR. RYAN: So actually I’m starting in the
5    second book.
6                THE COURT: Okay.
7                MR. RYAN: What I thought was 8 is really --
8                MR. TIMKO: Thank you, Mrs. Juravin.
9                THE WITNESS: Wrong book?
10               MR. RYAN: Yeah.
11               THE WITNESS: Okay.
12               MR. RYAN: Judge, I’m looking at the last piece
13   of paper before Exhibit 8.
14               THE COURT: Okay.         It says Page 1291 of 1291 at
15   the bottom or 601 of 601 at the top?
16               MR. RYAN: Yes.
17               THE COURT: Okay.
18               MR. RYAN: It was a lot bigger one, it was big
19   enough to read.     So I apologize but --
20               THE COURT: That’s when glasses come in handy.
21               MR. RYAN: If you look at the electronic one,
22   at least you can blow it up.
23   BY MR. RYAN:
24        Q      So the very last line it has a number off to
25   the left, 99028.      What does that number represent, Mr.


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1    Balot?   Bottom left corner.
2         A      Yeah, I see it.      That represents the item name
3    and the numeric value.
4         Q      Okay.   So that is the 99,028 files at the end
5    of this activity log?
6         A      That would be correct.
7         Q      Okay.   And if you look over to the right,
8    there’s a column for date and it says June 22nd, ‘21.
9         A      Yes.
10        Q      And it has a time.
11        A      Yes.
12        Q      Do you see that?
13        A      Yes, I do.
14        Q      Okay.   How come there’s nothing between May 5th
15   when the break order occurred and June 22nd when you were
16   finally able to see the activity log?
17        A      Because we didn’t have access to it.
18        Q      Okay.   So if you had had access sooner, you
19   would have seen what was on there sooner?
20        A      That would be correct.
21        Q      Okay.   And is the activity log defined by the
22   time frame, or is it also the size of the activity log?
23               So if you have, for instance, 80,000 activities
24   in one day, that fills up the bytes, I guess it is, and
25   limits your ability to look backward?


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1         A      Yes.
2         Q      okay.   So presumably, or I don’t want to
3    presume anything, if there hadn’t been 80,000 files
4    deleted on June 22nd, ‘21, would you have been able to
5    see further back in the past?
6         A      Yes.
7         Q      Okay.   So we don’t have any way of knowing what
8    was deleted, trashed, or edited before June 22nd, ‘21?
9         A      That would be correct.
10        Q      Okay.   Well, one of the things that -–
11               THE COURT: Mr. Ryan, Mr. Ryan, let me stop you
12   for a second.      Maybe you just jumped over something.
13   What does the date represent, because I didn’t get that
14   testimony?
15               MR. RYAN: It -– okay.
16   BY MR. RYAN:
17        Q      Mr. Balot, is the date that that represents
18   the date that something happened in the Juravin Google
19   cloud account?
20        A      Yes, it.
21        Q      Okay.   And then over to the -– well, to the
22   left of that, there’s column named User.
23        A      Yes.
24        Q      And that identifies the user that was accessing
25   that file at the time of that activity?


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1         A      Whatever user is behind that name, yes.
2         Q      Okay.   And then over to the right, there’s a
3    file or a column named Owner, and they all have Don at
4    Juravin.com.     Does that indicate who owned the account?
5         A      Well, that’s who’s registered as one of the
6    users, yes.
7         Q      Okay.   Then down, let’s see, the third column
8    says Event Description.        Is that the activity that
9    occurred with regards to each of those files on that day?
10        A      According to that log, yes.
11        Q      Yes.    So that’s what Google was saying the
12   activity was?
13        A      That is correct.
14        Q      Okay.   And then there’s a column next to that
15   called File Ext.      What is that?
16        A      It’s the File Extension.
17        Q      Okay.   And does that give you some information
18   that’s helpful when you’re analyzing data?
19        A      Yes, it will.
20        Q      How does it do that?
21        A      Well, as an example, JPG would refer to a
22   visual file.     MP4 would refer to a music file.               These are
23   just extensions you recognize after you’ve done the
24   amount of work in this industry that I’ve done for the
25   number of years I have.


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                                                                            68
1         Q      Okay.   And a JPG, J-P-G, just because it’s a
2    visual file doesn’t necessarily mean it’s a photograph,
3    correct?
4         A      That would be correct.
5         Q      So it might be a picture of an email?
6         A      That would be correct.
7         Q      It might be a picture of a document?
8         A      Could be, yes.
9         Q      Could be a copy of a bank record?
10        A      Could be.
11        Q      Yeah.   Okay.     And then there’s the second
12   column has -– it says Item name.            So are those the names
13   of the files that were accessed?
14        A      That would be correct.
15        Q      Okay.   And sometimes these names, they don’t
16   seem to have any rhyme or reason, and I think we’ll get
17   to some examples here pretty soon where they do have
18   names.
19               Do you have experience understanding how files
20   are named?
21        A      Well, in the event that we’re looking at here,
22   there are patterns that after years of doing this you
23   start recognizing.
24        Q      Okay.   And when users do use a descriptive
25   name -–


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                                                                            69
1         A      Um-um.
2         Q      -– does that typically give you an indication
3    of what content is in those files?
4         A      Possibly, yes.
5         Q      Okay.    So, for instance, if you looked at a
6    file and the name of it was Will Trust Account Juravin,
7    would you expect to see some information in there about a
8    Juravin trust account?
9         A      Yes, I would.
10        Q      Okay.    And a file of that type would be
11   something that you would have ended up recovering and
12   providing to the Trustee?
13        A      Well, based on the search criteria we were
14   given, yes.
15        Q      Okay.    So I want to jump around here a little
16   bit and look at some specific files.              Just give me one
17   moment.
18               Can you tell me what is the difference between
19   a trashed file and a deleted file?
20        A      Well, you know, different systems will use
21   those terms, and at least from my perspective, trash and
22   deleted are almost the same thing.
23               Google, obviously, they use trash as their term
24   for deletion, for argument sake, or gotten rid of.
25   Deleted, at least in other aspects of what we do, would


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1    be a file that’s been overwritten or taken away from the
2    computer.
3         Q      Okay.   And once you’ve got access to the
4    Juravin Google cloud account, is it possible for you to
5    go back and get the trashed and deleted items?
6         A      After 30 days, it is not.
7         Q      Okay.   So if you didn’t get access to the
8    account until July -– I’m sorry -– August 23rd, 2021, you
9    would not have been able to get anything that had been
10   trashed or deleted on June 22nd?
11        A      That is correct.
12        Q      Okay.   And if anything were edited during this
13   period, even though it’s not deleted or trashed, is there
14   anything you could have done on August 23rd, 2021, to see
15   what the file looked like before it had been deleted?
16        A      That would not be possible.
17        Q      Okay.   Thank you.
18               (Thereupon, a pause in the proceedings)
19               MR. RYAN: I apologize, Judge.             The redactions
20   are hitting the numbers also.
21   BY MR. RYAN:
22        Q      Okay.   You’re going to have to switch notebooks
23   for a second.
24        A      Which one?     The red one?
25        Q      No.   We’re still in the activity log.


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                                                                            71
1         A      Okay.
2         Q      The first part of Exhibit 7 is in the other
3    notebook.
4         A      At the beginning of 7?
5         Q      I want you to go to Page 40 of 1291.
6         A      Okay.   I’m there.
7         Q      Okay.   The page above it, my hole punch has
8    gone through the number, but I’m sure it’s Page 39 of
9    1291.    I want you to look at Line 1732.
10        A      Okay.
11        Q      Okay.   Based on the name of that file, can you
12   deduce what activity occurred in that file on July 8th,
13   2021?
14        A      Looks like the account Don Juravin accessed
15   this file and the filer’s name, Andrew hours reviewed,
16   and I would imagine, you know, knowing what I know about
17   business, this would be somebody by the name of Don
18   Juravin reviewing an employee’s hours.
19        Q      Okay.   And does it show that that file was
20   deleted?
21        A      Yes, it does.
22        Q      Okay.   And based on the surrounding file names,
23   are you able to, or based on the file extension, are you
24   able to make any determination as to what kind of file
25   that was?


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1         A      In certain cases, yes.
2         Q      Okay.    What about in this case?
3         A      Relating to which files?           Relating to which
4    file?
5         Q      Okay.    The one showing on 1732, Andrew hours
6    reviewed, December, January and February, dot W-E-B-M.
7         A      Right.
8         Q      What is webm?      What does that mean?
9         A      That’s a file extension, and it’s a file
10   extension, I think, not positive of this, that’s created
11   by Google.
12        Q      Okay.    And is it a file extension for a Google
13   program that tracks time?
14        A      I’d have to look at the Google Drive account to
15   be able to tell that for sure.
16        Q      Okay.    I want you to go to Page 252 of 1291.
17        A      I’m there.
18        Q      Okay.    And there is a line number 17,739, about
19   a third of the way up from the bottom.                Do you see that?
20        A      Yes, I do.
21        Q      Okay.    And what is the name of that file?
22        A      UMGI Resolution of Money Paid to Don and Anna.
23        Q      Okay.    And if you look at that, if you go over
24   to the event, the only thing that happened to it was it
25   was viewed by Anna Juravin, correct?


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1         A      According to this record, yes.
2         Q      Okay.   Let’s see, 17.        Okay.       Further up that
3    page, there’s a line 17717.
4         A      Yes.
5         Q      I’m sorry.     716.
6         A      Yes.
7         Q      Okay.   And what happened there -– well, what’s
8    the name of that file?
9         A      UMGI Resolution of Money Paid to Don and Anna.
10        Q      Okay.   And this time, who does it appear is
11   viewing the file?
12        A      According to the record, it’s Don at one dot
13   care.
14        Q      Okay.   Okay.     If you go up a few more lines,
15   you get UMGI Resolution.        I’m sorry.        Line 17713, it
16   seems like you have the same file name, right?
17        A      Yes, it does.
18        Q      Okay.   So would you assume that’s the exact
19   same file, just another activity in that file?
20        A      My assumption would be yes, it is.
21        Q      Okay.   And what happened with it on that one,
22   and who did it?
23        A      According to this, it was the same Don at one
24   dot care.
25        Q      Okay.   So he’s looking at it a second time.


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1         A      According to this record, yes.
2         Q      Okay.   Now if you go up to 17, line 17707 -–
3         A      Yes.
4         Q      -– through 17703 -–
5         A      Yes.
6         Q      -– you see that same file again?
7         A      Yes, I do.
8         Q      More activity.
9         A      Correct.
10        Q      And this time, who’s the user that’s doing the
11   activity?
12        A      At this juncture, it’s Anna at Juravin dot com.
13        Q      Okay.   And what event happened in that
14   activity?
15        A      According to this log, edits were being made to
16   the document.
17        Q      Okay.   So that document with regards to
18   transfers to Don and Anna Juravin was being viewed and
19   edited in rapid succession.
20        A      Yeah.   I can (sic) tell that it was a transfer.
21   I can tell that it was a resolution of money paid to Don
22   and Anna.
23        Q      Okay.   And that document was being edited?
24        A      That’s correct.
25        Q      And viewed?


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                                                                            75
1         A      That is correct.
2         Q      Okay.   And once the document was changed, was
3    the Trustee able to see what it looked like before the
4    change?
5         A      Based on what we could recover, no.
6         Q      Okay.   And if there were other views and edits
7    made of that file, they would show up further up in the
8    activity log, right, after this date?
9         A      That’s correct.
10        Q      So you got the oldest date in the back and the
11   newest date in the front?
12        A      Yeah.   You work from oldest to newest.
13        Q      Okay.   So I’d like you to jump all the way up
14   to Page 32 of 1291.
15        A      I have it.
16        Q      Okay.   And if you look at the line number 1337.
17        A      Yes.
18        Q      Okay.   UMGI Resolution of Money Paid to Don and
19   Anna, correct?
20        A      Yes.
21        Q      And that item was viewed again on July 15, 2021
22   by Anna Juravin dot com, correct?
23        A      That is correct.
24        Q      Okay.   And so if there were any number of times
25   that either Don or Anna Juravin went into this activity


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1    log between those dates, there would be an entry with
2    that same file name?
3         A      If that’s the file they were looking at,
4    correct.
5         Q      Okay.   So now if you could go to Page 504 of
6    1291.
7         A      Yes.
8         Q      Okay.   I want you to look at line number 37404.
9         A      I’m there.
10        Q      Okay.   And can you tell anything about that
11   document based on its file name?
12        A      Well, it’s a screenshot, number one, and it’s
13   a screenshot of what looks to be a wire transfer,
14   transfer wire JPG.
15        Q      Okay.   And who -– well, what event happened to
16   that document on that day or that file, I should say?
17        A      According to the log, it was deleted.
18        Q      Okay.   And what user deleted it?
19        A      Don at Juravin dot com.
20        Q      Okay.   And that occurred on June 22nd, 2021,
21   correct?
22        A      Correct.
23        Q      Okay.   And is this the same file that you were
24   able to recover and that we looked at earlier in Exhibit
25   6, or is this a different TransferWise document?


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                                                                            77
1         A      I can’t answer that question.             I’d have to look
2    at it.
3         Q      Well, you have to look at what, the deleted -–
4    okay.
5         A      Yeah, I’d like to go back to -–
6         Q      Okay.   Go back to Exhibit 6 then.
7         A      Okay.   It’s in the red book?
8         Q      Yes.
9         A      It’s most likely that document.
10        Q      Well, how did you get a document that was
11   deleted on June 22nd?
12        A      I believe this would have come from one of the
13   computers, which we made a forensic image.
14        Q      Okay.   So let’s go back now and look at -–
15   sorry.   I want you to go to, in the second book, Page 841
16   of 1291.
17               MS. JURAVIN: Which, Mr. Ryan, which page?
18               THE COURT: 841?
19               MS. JURAVIN: Thank you.
20               MR. RYAN: Yes, 841.
21               MS. JURAVIN: I don’t have 841.              My last page is
22   900 -– 691.
23               MR. RYAN: You’re not speaking in a microphone.
24   I don’t know what you just said.
25               MR. TIMKO: She says her last page is 691.


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1                THE COURT: You’re looking at the very bottom
2    number?
3                MS. JURAVIN: No, I’m looking at the page
4    number.
5                MR. RYAN: I’m going by these numbers.
6                MS. JURAVIN: Oh, these numbers, okay, on the
7    bottom.
8                MR. RYAN: Yeah.
9                MS. JURAVIN: Thank you.
10               MR. RYAN: Just so you know, when you don’t use
11   the microphone, I don’t hear you.
12               MS. JURAVIN: Oh, okay.
13               MR. RYAN: I hear noise but I can’t respond.
14               MS. JURAVIN: Sure.
15               THE COURT: All right.         841, correct?
16               MR. RYAN: 841.
17               MS. JURAVIN: Thank you.
18   BY MR. RYAN:
19        Q      And we go up to line 63786.
20        A      I am there.
21        Q      You’re there?
22        A      Yes.
23        Q      And there’s another file with the exact same
24   name, correct?
25        A      Correct.


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                                                                            79
1         Q      And that point on June 22nd he wasn’t deleting
2    it, he was trashing it, correct?
3         A      That is correct.
4         Q      Okay.   Why would somebody both trash and delete
5    the same file?
6         A      In the realm of Google Drive, what you have are
7    two different areas, trash and deletion.                Trash can be a
8    temporary area, where you put something to the side in a
9    trash can and you’re waiting to take it outside and throw
10   it on the curb so the trash company can pick it up.
11        Q      Okay.   And deletion?
12        A      Deletion would be the full erasure of that
13   particular document.
14        Q      Okay.   So this particular document, Mr. Juravin
15   took two steps in the same day.           First he trashed it and
16   later he deleted it.
17        A      That would be correct.
18        Q      Okay.
19               I’m trying to streamline something here, so I
20   can’t move as fast.       If you could go to Page 855 of 1291.
21        A      I am there.
22        Q      Okay.   And I want you to look at line number
23   64861.
24        A      Yes.
25        Q      Okay.   And what is the name of that file?


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1         A      Screenshot, numeric value of the screenshot
2    itself, and WhatsApp dot J-P-G, JPG.
3         Q      Okay.   And so what is WhatsApp?
4         A      That is a communication system, instant
5    messaging in nature.
6         Q      Okay.   And what was the event description for
7    that file and when did it happen and who did it, or what
8    user?
9         A      It says it occurred on 6/22/21 and deletion,
10   and it was deleted.
11        Q      Okay.   And were communications something that
12   you were supposed to search for within the Juravin
13   devices and cloud accounts?
14        A      Whatever was within the storage of those
15   accounts, yes.
16        Q      Okay.   And if we went through line by line, are
17   you -– do you know without doing that that there are
18   numerous instances where messages, whether they be text
19   or WhatsApp or some other program, Gmail, whatever, that
20   have been deleted?
21        A      Yes.    If we went through every single line
22   item, yes.
23        Q      Okay.   Are you able to determine whether or not
24   the actions in deleting these files, or do you have an
25   opinion whether or not these deletions and trashing of


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1    files on June 22nd was an intentional or accidental act?
2         A      Based on the pattern that I see here, it looks
3    intentional to me.
4         Q      Okay.   Based on what just briefly what we’ve
5    discussed, without getting into more microscopic detail,
6    are you able to form an opinion as to whether or not Mr.
7    Juravin deleted material that would have been responsive
8    to the search that you were ordered to do?
9         A      Well, with the name of certain files that
10   you’ve brought to my attention today, I would say yes.
11        Q      Okay.   And you’re not able -– well, we talked
12   about a TransferWise document, right?
13        A      Yes.
14        Q      You’re not able to tell us whether or not there
15   were other transfers using that app before June 22nd?
16        A      That would be correct.
17               MR. RYAN: Judge, I’d like to move Exhibit
18   Number 6, the TransferWise document into evidence.
19               THE COURT: Mrs. Juravin, do you object?
20               MS. JURAVIN: No, I don’t.
21               THE COURT: All right.         I’ll admit Plaintiffs’
22   Exhibit Number 6.
23               MR. RYAN: I’d like to move Plaintiffs’ Exhibit
24   Number 7 into evidence.
25               THE COURT: All right.         Which one is that?           It’s


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1    so big here.     Okay.    So that’s the large --
2                MR. RYAN: That is --
3                THE COURT: -- spreadsheet.
4                MR. RYAN: Correct.        It is something that the
5    Google Drive generated on its own.             It keeps an activity
6    log of what’s going on in the account.
7                THE COURT: All right.         Ms. Juravin, do you
8    object?
9                MS. JURAVIN: Yes.
10               THE COURT: Okay.
11               MS. JURAVIN: I would like to know -–
12               THE COURT: Come up to the podium.
13               MS. JURAVIN: I would like to know when this
14   exhibit was created.       There’s no date on that exhibit.
15   When was it created?
16               MR. RYAN: Do you want -–
17               THE COURT: I mean, did -–
18               MR. RYAN: Well, it -–
19               THE COURT: -– you ask the witness?
20               MR. RYAN: I’m sorry.         Are you being specific as
21   to the PDF version that’s been filed with the Court?
22               MS. JURAVIN: So it can be an electronic -–
23               MR. RYAN: Or the -–
24               MS. JURAVIN: The electronic version, when was
25   it created?


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1                MR. RYAN: Okay.
2    BY MR. RYAN:
3         Q      So, Mr. Balot, did you -– did Online Security
4    create this record in PDF format or in a spreadsheet
5    format?
6         A      In a spreadsheet format.
7         Q      Okay.   And does this -– well, when did you make
8    that spreadsheet format?
9         A      It probably was within weeks of reviewing the
10   account.    I couldn’t give you the exact date.
11        Q      Okay.   Do you know, would it have been done at
12   or about the time that Online Security got administrative
13   rights to the account?
14        A      That would be correct.
15        Q      Okay.   Do you know if this PDF version that we
16   had filed with the Court accurately reflects the same
17   information that was on your spreadsheet version?
18        A      Yes, it does.
19        Q      Okay.
20               MS. JURAVIN: I don’t think it’s possible to,
21   by looking just at the exhibit with so many pages, just
22   to say that it reflects the same.
23               THE COURT: Well, come on up to the podium.
24               So your objection then, Mrs. Juravin, is on
25   authenticity?


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1                MS. JURAVIN: Yes.
2                THE COURT: Okay.         And just elaborate a little
3    bit for me.
4                MS. JURAVIN: This paper exhibit was printed
5    from some source, right, from some online source, a
6    spreadsheet that Mr. Balot created?             I would like to know
7    when was it created, the PDF.
8                Mr. Balot, may I ask if -–
9                THE COURT: Well, you can some questions but
10   tell me -– I’m going to let you cross examine him in a
11   minute.   What I’m trying to decide is if I’m going to
12   admit this exhibit, and you’re raising questions of
13   authenticity.     So why is it that you’re concerned that
14   this is not -– this is not what it purports to be?
15               MS. JURAVIN: Because it doesn’t have any date,
16   and it’s not signed by anyone.
17               THE COURT: Okay.         All right.
18               Mr. Ryan, I would like for you to get a little
19   bit more information from Mr. Balot about how this was
20   created before I rule on authenticity.
21               MR. RYAN: Okay.
22   BY MR. RYAN:
23        Q      When Online Security was able to see the Google
24   Drive Activity Log on its computer monitors, while it’s
25   still up in Mr. Juravin’s account, were you one of the


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1    people or the person that was looking at that activity
2    log in the Google Drive account?
3         A      I was one of two people who did.
4         Q      Okay.   And what is the procedure that Online
5    Security used to make a picture of the information in
6    that activity log?
7         A      Well, the process we would follow is we would
8    create a spreadsheet.        All right.      We would save the file
9    right directly from Google and then convert it into a
10   spreadsheet so that we have something that’s reviewable,
11   rather than having to access the Google Drive account to
12   continue to look at it or review it.
13        Q      Okay.   So when you do that process or --
14   describe it a little bit better to me.                I mean, you say
15   you create a spreadsheet.         I’m familiar with Microsoft.
16   An Excel spreadsheet?
17        A      Correct.
18        Q      And then you import the information?
19        A      We would import the data directly from the
20   Google Drive account that we’re looking at, the activity
21   log that we’re looking at, into that spreadsheet.
22        Q      Okay.   And is there any information on the
23   Google Drive activity log that you don’t include?
24        A      Well, we point it at a particular file.                    And in
25   this case, it would be this file that you’re looking at,


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1    which now has been converted into a spreadsheet.
2         Q      Okay.   So what I’m talking about is if I were
3    looking at the Google Drive Activity Log in the cloud,
4    would there be an item name?
5                You have a column here called Item Name.                   Is
6    that -– is that your description or is that the same
7    description given to it by Google Drive?
8         A      That would be Google Drive.
9         Q      Okay.   And where it says File Extension, is
10   that the same file or same column name that the Google
11   Drive account has?
12        A      That’s correct.
13        Q      And where it says Event Description, is that
14   the same column name that the Google Drive account has?
15        A      Correct.
16        Q      And the User column, is that the same name for
17   that column that is in the Google Drive account?
18        A      It would be the same data, yes.
19        Q      And so are there -– every column on this report
20   is named identical to the column in the Google Drive
21   account?
22        A      That is correct.
23        Q      And every column that’s on the Google Drive
24   account is reflected on this report?
25        A      Correct.


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1         Q      So this is a complete copy of the information
2    in the Google Drive account just as if you were scanning
3    down it?
4         A      That’s correct.
5         Q      Okay.   When you move it from the Google Drive
6    account into a spreadsheet, does that change the data in
7    any way?
8         A      It should not, no.
9         Q      Okay.   And did you take any steps to make sure
10   that the copy that Online Security made matched what was
11   showing in the Google Drive activity account?
12        A      Yes.    What we do is we look at the number of
13   items and compare that to make sure we got every single
14   item.
15        Q      Okay.   And if I go to the -– to the very first
16   page of this exhibit -–
17        A      1291 you’re talking about?
18        Q      No, that’s last.
19        A      Okay.
20        Q      I’m going -– if you go to -– again, might have
21   a hole punch problem.        But go to Page 2 of 1291.
22        A      Okay.
23        Q      And then look at the page above it.
24        A      I’ve got to go to the other book.               Excuse me.
25   Okay.


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                                                                            88
1         Q      Okay.   If you go up to line number 1.
2         A      On Page 2 or the page before it?
3         Q      No.   The page above it.
4         A      Okay.   I’m there.
5         Q      And it shows that there was an item viewed on
6    July 24th, 2021 at 8:28 a.m.          Do you see that?
7         A      Yes, I do.
8         Q      Okay.   Would it be safe to assume that you were
9    able or Online Security was able to make this activity
10   log or take this picture of the Google Drive Activity Log
11   at or about -– well, shortly after 8:28 a.m. on July
12   24th?
13        A      Yes, I would.
14        Q      If there had been any activity after that date
15   and before you copied it, it would have been showing on
16   this report, correct?
17        A      That is correct.
18        Q      Okay.
19               THE COURT: All right.         Mrs. Juravin, anything
20   else?
21               MS. JURAVIN: No.
22               THE COURT: Okay.         I am going to -– I’m
23   satisfied that Plaintiff has met the requirements to
24   establish authenticity.        So with that, I will admit
25   Plaintiffs’ Exhibit 7.


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1                MR. RYAN: Okay.
2                THE COURT: And I don’t think we talked about 8
3    yet, right?
4                MR. RYAN: No, we have not.
5                THE COURT: Okay.         And then Ms. -- Mrs. Juravin,
6    if you want to -– I’m just admitting it into evidence.
7    If you want to question, question him about it and the
8    process, I still get to decide what kind of weight I give
9    it, you can ask all those questions when you cross-
10   examine Mr. Balot.        Okay?
11               MS. JURAVIN: Okay.
12               THE COURT: All right.         Thank you.        How much
13   more do you have, Mr. Ryan?
14               MR. RYAN: I got to get through 8, and then I
15   think 9 and 10 should go very quickly.
16               THE COURT: Okay.
17               MR. RYAN: So 8 should not take nearly so long
18   either.
19               THE COURT: Okay.
20               MR. RYAN: So --
21               THE COURT: I only ask because it’s about 12:30,
22   so soon we’ll want to take a lunch break.
23               MR. RYAN: I apologize.
24               THE COURT: That clock is -– our power went out
25   over the weekend, so that clock’s all messed up.


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                                                                             90
1                MR. RYAN: Okay.
2    BY MR. RYAN:
3         Q      Would you please turn to Exhibit Number 8?                 No,
4    it’s in the white book.
5         A      White Book.
6         Q      7 and 8 are both in the white book.               So let me
7    take this one back.
8         A      Okay.
9         Q      So go -–
10        A      I got it.
11        Q      -– if you will, down to Exhibit 8.
12        A      Thank you.
13        Q      Okay.
14        A      Okay.   I am there.
15        Q      Do you recognize that document, sir?
16        A      Yes, I do.
17        Q      Okay.   What is it?
18        A      This is a file that was found on one of the
19   iMac computers that we forensically imaged.
20        Q      Okay.   And so these are -– and if I go to the
21   last page, is it accurate to say that you found 4,578 of
22   the files that were previously listed as deleted?
23        A      Correct.
24        Q      So out of the 80-plus thousand files that were
25   deleted, you searched elsewhere and you were only able to


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1    find 4500 of them?
2         A      That would be correct.
3         Q      Okay.
4                MR. RYAN: I’d like to move Exhibit 8 into
5    evidence.
6                THE COURT: Any objection?           Mrs. Juravin?
7                MS. JURAVIN: I don’t have objections.                Don, I
8    think Don would have it, but he’s not here.
9                THE COURT: Okay.         I will admit Plaintiffs’
10   Exhibit Number 8.
11               MR. RYAN: Okay.
12   BY MR. RYAN:
13        Q      Would you please turn to Exhibit Number 9?
14        A      I’m there.
15        Q      Do you recognize that document?
16        A      Yes, I do.
17        Q      What is it?
18        A      This is a recap of the forensic imaging of the
19   devices that you had sent to us on this case.
20        Q      Okay.   And these are the devices that you
21   received and searched at Online Security?
22        A      That is correct.
23        Q      Did you participate in making this document?
24        A      I’m sorry.     Again?
25        Q      Did you participate in creating this document?


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1         A      Yes, I did.
2         Q      So that’s the inventory of devices that you
3    were provided to do your search?
4         A      That is correct.
5         Q      And beyond these devices, you also searched
6    cloud accounts, correct?
7         A      That is correct.
8         Q      All right.
9                MR. RYAN: I’d like to move Exhibit Number 9
10   into evidence.
11               THE COURT: Any objection?
12               MS. JURAVIN: I don’t have any.
13               THE COURT: I’ll admit Plaintiffs’ Exhibit
14   Number 9.
15               MR. RYAN: Okay.
16   BY MR. RYAN:
17        Q      Would you please look at Exhibit Number 10,
18   please?
19        A      Yes.
20        Q      Do you recognize that document?
21        A      Yes, I do.
22        Q      Is that your report?
23        A      Yes, it is.
24        Q      Does it accurately reflect the information that
25   you relied on to reach your opinion?


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                                                                            93
1         A      Yes.
2         Q      And did you reach opinions with regards to
3    whether or not Mr. Juravin intentionally deleted,
4    trashed, or edited files that would have been responsive
5    to the Trustee’s, or the search you did for the Trustee’s
6    benefit?
7         A      Yes.
8         Q      And what was your opinion?
9         A      That there was intentional deletion of files.
10        Q      Okay.   That would have been responsive to the
11   search that you were running?
12        A      Correct.
13        Q      Okay.
14               MR. RYAN: I’d like to move Exhibit Number 10
15   into evidence.
16               THE COURT: Are you making any adjustment, Mr.
17   Ryan, or are you moving Number 10 into evidence?
18               MR. RYAN: I’m moving 10 into evidence, I
19   thought I asked.      I was waiting for an objection.
20               THE COURT: Well, I saw you reading something --
21               MR. RYAN: Yeah.       No, I --
22               THE COURT: -- so I didn’t know if you needed to
23   do something else.        Okay.
24               MR. RYAN: I think -- I think I’ve covered it.
25               THE COURT: All right.         Mrs. Juravin.


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1                MS. JURAVIN: I don’t have any objections –
2    (indiscernible) I object to that one.
3                THE COURT: All right.         I’ll admit Exhibit
4    Number 10.    Really it’s a demonstrative exhibit.
5                As far as Mr. Balot’s opinion testimony, it’s
6    his opinion that he states here in court today, that is
7    admissible.    Technically, Exhibit Number 10 is hearsay,
8    even though he’s a witness here.            I’ll let him use it,
9    and for the Court’s own reference, but it’s the testimony
10   on the stand that’s going to be the testimony that I
11   review.   Okay?    So it is admitted for that purpose.
12               MR. RYAN: And just to be clear, when I, if we
13   get to the point of writing written closing arguments, if
14   I want to point out specific details in the admitted
15   exhibit that I didn’t go through item by item today, that
16   would be okay?
17               THE COURT: No, you need to -- if you want it in
18   the record, then you need to have Mr. Balot testify to
19   it.
20               MR. RYAN: So, okay.         Can we take a break and
21   I’ll come back and go through a few more items or do you
22   want me to take the time?        Because if I’m going to go
23   item by item as to the will and trust and the other
24   things and each time it was edited as opposed to giving
25   you examples and then pointing them out in writing.


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1                THE COURT: Well, I think, yeah, I think you’re
2    misunderstanding.         Mr. Balot’s report, which was prepared
3    under 2682, which is only six pages long, technically
4    this is really not an exhibit because it’s hearsay.                     Even
5    though he’s here to testify, it is an out-of-court
6    statement.
7                THE COURT: Okay.
8                THE COURT: We typically allow these to come in
9    more as demonstrative aids so that he can use it on the
10   stand that you can use it.            But as far as what his
11   testimony is today, his opinion, it needs to be solicited
12   from him.
13               I’m not saying you can’t refer to the exhibits,
14   but if you want his opinion, then you need to get it out
15   on the record today, anything other than what you’ve
16   already done.
17               MR. RYAN: All right.          Give me one second.
18               MR. TIMKO: Do you mind if we step outside for a
19   second just because --
20               THE COURT: Okay.
21               MR. TIMKO: -- it’s hard to speak softly.
22               THE COURT: Yeah, it is.           It’s hard to confirm.
23   So one second.
24               MR. RYAN: I can’t hear him talking.                He wants
25   to say something.


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1                THE COURT: Well, I just wonder how much would
2    you have in addition to this, whether we should go ahead
3    and take a lunch break.        Or when you come back, how much
4    more are you going to have, do you think?
5                MR. RYAN: I don’t know until I hear what Mr.
6    Timko thinks.
7                THE COURT: But other than this, you’re pretty
8    much done?
9                MR. RYAN: Correct.
10               THE COURT: Is that what you’re saying?                Okay.
11   Go on out.    I’m just going to wait here.
12               MR. TIMKO: Okay.         We’ll be super quick, Your
13   Honor.
14               THE COURT: And then you come on back in.
15               MR. TIMKO: Sorry.
16               (Thereupon, a brief pause in the proceedings,
17   after which the following was had.)
18               MR. RYAN: I do have a few more questions.                  It
19   won’t take long.
20               THE COURT: Okay.         Please proceed.
21   BY MR. RYAN:
22        Q      Mr. Balot, the analysis that you did in order
23   to reach your opinion, is it the type of analysis that is
24   ordinarily done when you’re trying to determine whether
25   somebody intentionally or accidentally deleted materials?


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1         A      It would fall under that guise.              Yes.
2         Q      Okay.   What kind of factors do people in your
3    industry look for when they’re trying to make that
4    determination?
5         A      Well, there’s a lot of different data points
6    within a hard drive and the data that you’re reviewing
7    that will point to intentional deletion.                Meaning that if
8    all of it was done in a short period of time, as an
9    example.    If it was moved to certain areas of a hard
10   drive, we would find deleted information, or if you have
11   evidence of it somewhere else and you don’t find it on
12   the place where it was originally created.
13        Q      Okay.   And you bring up an interesting point.
14   You just talked about when you’re doing a search on a
15   hard drive.
16               When you are doing a search of the Google Drive
17   account, does that give you the same type of material
18   that you have when you’re looking at a hard drive?
19        A      No, it will not.
20        Q      Okay.   And so is the activity log kind of an
21   alternative to looking under what’s obvious on a hard
22   drive?
23        A      Yeah, you could look at it as looking at it
24   under the hood for argument sake.            Trying to determine,
25   you know, what happened, when it happened and, you know,


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1    who made it happen.
2         Q      Okay.   But when you’re looking at something in
3    a cloud account, you don’t have that forensic analysis
4    ability.    You have to rely on the Google Drive account --
5         A      Not the --
6         Q      -- or the activity log, rather.
7         A      Not to the full degree you would from a hard
8    drive, correct.
9         Q      Okay.   So anybody in your industry trying to
10   determine whether or not files were intentionally or
11   unintentionally deleted in a Google Drive account would
12   have to do it by analyzing an activity log?
13        A      That would be correct.
14        Q      Okay.   And with regards to analyzing an
15   activity log, are file names an important factor?
16        A      They are a clue.         They’re evidence, yes.
17        Q      Okay.   And why is that?         Why are file names
18   important?
19        A      Well, just as we saw earlier in the names of
20   some of these files, we were talking about a trust
21   document, we were talking about a transfer wire document.
22   Just the name alone leads you to what, in all likelihood,
23   the document was.
24        Q      Okay.
25        A      Go ahead.


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1           Q    And the file extensions, such as WhatsApp,
2    that’s important?
3           A    That could be important, yes.
4           Q    Okay.   And whether or not it says MSG or
5    something of that nature, those are important things?
6           A    Yes, it would be.
7           Q    And are those the types of things that people
8    in your industry routinely look for when they’re trying
9    to determine what’s happened with regards to a particular
10   account?
11          A    Yes.
12          Q    Okay.
13               THE COURT: All right.         Anything else?
14               MR. RYAN: No further questions.
15               THE COURT: All right.         Thank you.
16               Mrs. Juravin, you’re going to have a chance.
17   Do you have cross examination questions for Mr. Balot?
18               MS. JURAVIN: Can we do it after the lunch
19   break?
20               THE COURT: Yes.
21               MS. JURAVIN: Excellent.
22               THE COURT: That’s what I was going to propose.
23   Yes.   So it is now 12:51.       We will take a break.
24               MR. TIMKO: Thank you.
25               THE COURT: Are the parties looking for a short


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1    lunch?   I need some time to go and have lunch.
2               MR. TIMKO: 2:00 o’clock?
3               THE COURT: Yeah, I was going to propose 2:00
4    o’clock.   Okay?    So let’s come back at 2:00.             We’ll go
5    for the full from 2:00 to 3:45 unless someone runs into a
6    problem and we’ll conclude for the day.
7               MS. JURAVIN: I would like to ask if we can
8    finish by 3:45.     I have my kids waiting.            They will be
9    waiting for me to pick them up so.
10              THE COURT: We will finish at 3:45.
11              MS. JURAVIN: Thank you.
12              THE COURT: One way or the other.               Okay?        All
13   right.   Thank you.      So we’ll recess until 2:00 p.m.
14              COURTROOM DEPUTY: All rise.
15              (Thereupon, a luncheon recess was taken, after
16   which the following proceedings were had.)
17              COURTROOM DEPUTY: All rise.
18              THE COURT: All right.          You may be seated.
19              Well, let me move around these enormous books
20   real quick.    All right.
21              So Mrs. Juravin has chosen not to join us this
22   afternoon.    She actually apparently stopped by the intake
23   desk of our clerk’s office and informed the staff that
24   there was an emergency with her husband and that she was
25   not coming back.


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1               So it appears to me that despite everything
2    I’ve done to try and give Mr. and Mrs. Juravin their day
3    in court, that they continue to try and delay the trial
4    and basically set up facts for their appeal -–
5               MR. TIMKO: Right.
6               THE COURT: -– that that’s kind of what they’re
7    banking on.    So with that in mind, let’s talk about how
8    we’re going to go forward, considering you now no longer
9    have an opponent today, which changes things a little bit
10   from what I talked about this morning.
11              MR. TIMKO: Right.
12              THE COURT: So let me look at my list here.                  Is
13   everything in evidence?
14              MR. TIMKO: Not everything.
15              THE COURT: There was something we were
16   reserving on.
17              MR. TIMKO: Yeah.         There was some relevance
18   objections.    Hopefully my list is completely accurate.
19   Hopefully Aimee will check me.
20              THE COURT: Yeah, I think that’s all that’s
21   left, right, is really relevance?
22              MR. TIMKO: Well, relevance and -– oh, we dealt
23   with the attorney-client privilege.             So, yeah, it should
24   just be relevance.
25              THE COURT: Okay.         So anything as far as


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1    relevance, I will overrule that objection.                 This Court
2    will take it into evidence and determine what appropriate
3    weight to give it as far as its relevance to the issues
4    at hand.
5               MR. TIMKO: Should we go through the numbers
6    just so we have it all?
7               THE COURT: Yeah.         So I’ll show you, I’ll tell
8    you what I have starting at -–
9               MR. TIMKO: I think we -–
10              THE COURT: Mine is starting at Exhibit Number
11   35.
12              MR. TIMKO: Yes.
13              THE COURT: Okay.
14              MR. TIMKO: So 35.
15              THE COURT: 35, 36, 37.
16              MR. TIMKO: Right.
17              THE COURT: 39.
18              MR. TIMKO: 40.
19              THE COURT: 40, and then 42.
20              MR. TIMKO: Through 46.
21              THE COURT: Through 46.            48?
22              MR. TIMKO: Oh, actually --
23              THE COURT: Oh?
24              MR. TIMKO: -- there may have been more, 48 may
25   have had more objections.           I’m sorry.        To be fair, there


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1    may have been more objections to that.               Sorry about that,
2    Your Honor.    I put that folder to the side because I
3    thought we were done with that.
4                THE COURT: Oh, actually, I have that in front
5    of me.   Let me look at it.
6                MR. RYAN: I think it was just relevance.
7                MR. TIMKO: Well, I just, I mean -–
8                THE COURT: 48 was authentication, not signed,
9    not certified, no foundation, hearsay, and there’s a
10   reason to doubt the authenticity of the material.
11               MR. TIMKO: Yeah.
12               THE COURT: So let’s just put a pin in that for
13   a second.
14               MR. TIMKO: Okay.
15               THE COURT: And we’ll talk about the rest of it.
16   And then I had 63 that’s not in, and 68 and 72.
17               MR. TIMKO: Okay.        I had 73 as well.
18               THE COURT: 63 is relevance.              68 should have
19   come in because there’s no objection.                60 -– 72 is
20   relevance.    76 -–
21               MR. TIMKO: What about 73?           I don’t have that
22   checked off.    I just -– again, I might’ve just missed the
23   check.
24               THE COURT: Well, I had a check in mine --
25               MR. TIMKO: All right.         Well --


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1               THE COURT: -- because there’s no objection.
2               MR. TIMKO: Well, if you have a check, then I
3    should have had a check.
4               THE COURT: That’s all right.
5               MR. TIMKO: All right.          76?
6               THE COURT: 76 is attorney-client privilege,
7    irrelevant.
8               MR. TIMKO: Okay.
9               THE COURT: So we’ll -–
10              MR. TIMKO: So we took -– we now took care of
11   that.
12              THE COURT: Irrelevance on 78.              79 attorney-
13   client privilege, relevance.
14              MR. TIMKO: Okay.
15              THE COURT: And then 80 was nothing.
16              MR. TIMKO: Okay.         Yeah, I had 80 checked.
17              THE COURT: Okay.
18              MR. TIMKO: And then 82 through 85.
19              THE COURT: Irrelevance -– relevance.                Okay.
20              MR. TIMKO: Okay.         So -–
21              THE COURT: So I will admit those.               And I guess
22   the only thing that I wanted to circle back on then was
23   this 48.   It’s part of it is going to depend on how we
24   proceed.
25              MR. TIMKO: 48 is a spreadsheet.


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1               THE COURT: Okay.
2               MR. TIMKO: That was the subject matter of the
3    summary judgment and all of that, in the testimony Medina
4    prepared to show basically how much money they sent to
5    UMGI and that, if that rings a bell, but that’s -– that’s
6    what that is.
7               THE COURT: Okay.
8               MR. TIMKO: So I think, I mean, we can go back
9    to the default issue and then us proving up on default.
10   There are some things that we would have obtained
11   testimony at trial that we don’t have depositions for.
12              THE COURT: So let me then step back for a
13   second.
14              MR. TIMKO: Okay.
15              THE COURT: Would the Chapter -– do you want to
16   go over -- not Chapter 11 -– the Eleventh Circuit cases
17   you have, is the default a sanction for not appearing at
18   trial, or is it really just a default judgment for not
19   defending yourself?
20              MR. TIMKO: Oh, it’s a -– so that court -– that
21   court actually did not grant default, but the Eleventh
22   Circuit specifically said not showing up at trial is a
23   basis for default.       I would assume that that would have
24   been a sanction.
25              THE COURT: Okay.


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1               MR. TIMKO: Just the way it was posed in the
2    opinion, to be fair.       And then obviously you have the
3    right to default for sanctionable conduct.
4               THE COURT: Right.
5               MR. TIMKO: So -–
6               THE COURT: So then let’s go through.                Tell me
7    what evidence you were planning to present over these
8    days that you don’t feel is already encompassed in the
9    documents or in deposition transcripts that I can read.
10              MR. TIMKO: Okay.         That’s fair.
11              Well, so we have all the transfers in the bank
12   records.   We have -- I’m sorry, I’m just going through
13   the checklist in my head.
14              We don’t have Mr. Kennedy’s testimony, really,
15   with respect to his difficulties in administering the
16   case, his difficulties with dealing with the Juravins.
17   You know, they’re not showing up at the 341 Meetings.
18   His suspicion.     All, all the things with respect to
19   administration, we don’t have that.
20              THE COURT: And that really goes -– does that
21   only go to the motion for sanctions, or is it part of
22   setting aside, if you weren’t requesting sanctions, is it
23   part of the main adversary proceedings themselves?
24              MR. TIMKO: I think it’s part of the main
25   adversary proceedings -–


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1               THE COURT: Okay.
2               MR. TIMKO: -– themselves through the --
3               MR. RYAN: Totality.
4               MR. TIMKO: -- totality of the circumstances
5    with respect to fraud, which is why I said earlier this
6    morning we have Mr. Balot and Mr. Kennedy to testify.
7               THE COURT: Okay.
8               MR. TIMKO: But Mr. Kennedy is -–
9               MR. RYAN: And he had a -– (inaudible).
10              MR. TIMKO: -– is, I mean, he’s having issues.
11   He -– I don’t know to share more on this, but he’s having
12   difficulty even turning pages.
13              THE COURT: Okay.
14              MR. TIMKO: So just to give you a -–
15              THE COURT: Understood.
16              MR. TIMKO: So a declaration on that would
17   probably be helpful.       I can’t think -– I’m sure -–
18              MR. RYAN: Some of this is from the docket, too,
19   though.
20              MR. TIMKO: Some of it would be from the docket,
21   too.   So we might be able to reduce that.
22              I’m sure there’s one or two things out there
23   that I can’t think off the exact top of my head.                  There
24   was a couple of questions I wanted to ask Mr. Juravin.
25   I -–


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1               THE COURT: I understand.
2               MR. TIMKO: I assume that I was not going to be
3    able to question him.
4               There was a couple of things that I wanted to
5    ask Mrs. Juravin about but I think her deposition
6    testimony will take care of that, and obviously I can’t
7    get a declaration of her.           And then Mr. Green would
8    probably have to submit a declaration as well, just with
9    respect to -–
10              MR. RYAN: The destroyed vehicles.
11              MR. TIMKO: The destroyed vehicles.
12              MR. RYAN: We have pictures and -–
13              MR. TIMKO: Yeah, the destroyed vehicles, and I
14   can resubmit, I guess, the Kelleher Declaration with
15   respect to not being aware of ahead of time.                 I think
16   that covers all of the highlights.
17              The issue, the other issue we may have is just
18   –- I think you wanted a 20-page closing, which may be a
19   little bit more to stick to that page limit with respect
20   to just because there’s so much, because a lot of it
21   you’re going to hear, so I may not necessarily put it in
22   the closing but I’ll note that you’ve heard it.                  You know
23   what I mean?
24              THE COURT: Right.
25              MR. TIMKO: So there might be some of those


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1    issues as well.     But, I mean, honestly, I mean, you’ve
2    seen the motion for summary judgment.                We’re just kind of
3    adding to that.     And then you also, depending on, you
4    know, we were going to ask for negative inference with
5    respect to the ESI.       I mean, you’ve heard that -– I
6    forget the exact number -- 80,000 documents or whatever
7    have been -– were deleted between the break order and the
8    date of the recovery.       And then -- oh, and then we would
9    also request to have some of the -– we have somebody
10   compiling this now, but some of the documents that
11   Juravin filed also added into the record.               We could give
12   you a chart on that in a filing.
13              THE COURT: You know, I’ve taken judicial notice
14   of my entire docket today.          I made that note.         We can add
15   it to the pro memo.       Usually judicial notice means, you
16   know, it’s just a notice that -–
17              MR. TIMKO: Yeah.
18              THE COURT: -– someone filed something.                 But if
19   it’s a pleading filed by Mr. Juravin, then it’s also an
20   admission as well.
21              MR. TIMKO: Right.
22              THE COURT: So anything in there I think is fair
23   game.
24              MR. TIMKO: Okay.
25              THE COURT: And all this stuff.              The majority of


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1    it, I’m guessing, was all filed after your exhibits were
2    due.   That’s my guess.
3                MR. TIMKO: A majority of it was.              And,
4    specifically, we’re thinking about -– well, yeah, some of
5    it was filed on that Monday.          Some of it -– I think a
6    majority was, though, filed on the 20th, which was after.
7    And in there there’s a -–
8                THE COURT: Oh, you mean his exhibits.
9                MR. TIMKO: His exhibits.
10               THE COURT: Oh, okay.         Okay.       I’m sorry.    I
11   thought you --
12               MR. TIMKO: But there are some bank records in
13   there that we didn’t have, which I don’t know why we
14   didn’t have them since they’ve been asked for.                 And a
15   couple -–
16               MR. RYAN: Declaration.
17               MR. TIMKO: There’s a Declaration of Paul
18   Simonson who -– it was filed with respect to the break
19   order and he filed it within his exhibits and there’s
20   some helpful admissions in that as well of Mr. Juravin.
21   So I would like to have that put into evidence for that
22   reason.   And, you know, my plan was to ask him about that
23   Declaration.    But I think we have -– I think we’ve got 99
24   point -– 99 point -– 99 percent of everything in.                  I
25   guess, if there’s something that we trip over when we


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1    prepare it, if we’d be allowed to submit a -– you know,
2    because we’re submitting declarations anyway, you know,
3    maybe add some of those facts to the declaration.                  I can
4    even write a footnote that this -–
5               THE COURT: Okay.
6               MR. TIMKO: If that really matters to you.
7               THE COURT: Well, I’m just trying to -–
8               MR. TIMKO: But I think we can address
9    everything.
10              THE COURT: My preference would be to avoid
11   declarations and basically have this be an unopposed
12   trial.    But now that we actually have no one -–
13              MR. TIMKO: Yeah.
14              THE COURT: -– in the defense seat, and I don’t
15   want to prolong this and cause people to incur additional
16   costs they don’t need to, I’m trying to figure out the
17   best way to conclude it, get all the evidence in, the
18   testimony we need, so that I can write an opinion
19   realizing that this most likely is going to go up on
20   appeal.   How far it goes is always the question.                 But
21   making sure that we, you know, dot our I’s and cross our
22   T’s because, like I said, I’ve done everything I think I
23   can to, A, move the case forward while still giving Mr.
24   Juravin a chance to defend himself.
25              MR. TIMKO: Well, if we -– if we do the default,


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1    as I understand it, and I did some very quick research on
2    this issue when all of this started going crazy, if we go
3    the default route, I believe that they’re required to
4    file a motion for reconsideration to contest the default.
5    I think that Rule 55(c).        And then they’re only able to
6    -– and if they file that, under Eleventh Circuit law they
7    have to prove that they have a meritorious defense in
8    order to reach reconsideration.           And then if you rule
9    against them, then they have the right to appeal.                  So let
10   me see if I can -–
11               THE COURT: Well, I --
12               MR. RYAN: But the scope of that appeal is
13   narrower.
14               MR. TIMKO: Yes.
15               THE COURT: Yeah, I’d like to -– do you have
16   copies of the cases that you’re looking at?
17               MR. TIMKO: Yeah.        I’m digging through right
18   now, Your Honor.
19               MR. RYAN: And, Judge, if, if the case had been
20   tried, by the close of the evidence, I would have been
21   seeking leave to amend to conform to the evidence because
22   I think what it would show with regards to the 950,000
23   that went from NVLC to UMGI is that UMGI and Dan –- I’m
24   sorry, Don and Anna were all working together, and they
25   really should have joint and several liability on that


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1    money.
2               MR. TIMKO: So I’m not -– so if I may approach.
3               THE COURT: Yes, go ahead.
4               MR. TIMKO: So this is the -– this is the
5    Eleventh Circuit opinion, and I highlighted the language
6    here where it says failure to appear as a basis for
7    default.   But I do think the Eleventh Circuit was
8    thinking of it as a sanction in that.
9               THE COURT: Okay.
10              MR. TIMKO: And then this Liberty Mutual
11   (indiscernible) Force case, I just -– I don’t have
12   anything highlighted in here, but it was helpful because
13   it kind of takes you through the rulings in the Eleventh
14   Circuit, what you do when.          Can you default somebody
15   that’s actually appeared?           Does it have to be a clerk’s
16   default?
17              THE COURT: Um-hum.
18              MR. TIMKO: It like kind of takes you through
19   the procedures of that.
20              And then rule 55(c), see if I can grab that
21   real quick.    Yeah, I was really curious as to how we were
22   going to deal with this today.            All right.       55(c), 55(c)
23   just says the court may set aside entry of default for
24   good cause and it may set aside a final default judgment
25   under Rule 60(b).


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1                THE COURT: Um-hum.
2                MR. TIMKO: So I don’t know if that cuts off
3    their right to do it.       Well, I think it does.            If you -–
4    I think if you do a default judgment, it’s saying that
5    you may set it aside under 60(b).            I don’t think -– I
6    guess the question is whether or not the case law allows
7    for an actual appeal and how that is read.
8                THE COURT: Well, right.          And regardless of what
9    it allows for, I mean that’s really going to be for the
10   district court to decide because I have no doubt that the
11   notice will be filed.
12               MR. TIMKO: Right.
13               THE COURT: And that that’s how he’ll proceed.
14   And then they’ll determine what the proper method is.
15               I guess what, you know, for a default judgment,
16   I still have to satisfy myself that the Plaintiff is
17   entitled to the relief that the Plaintiff seeks.
18               MR. TIMKO: Right.
19               THE COURT: Which means looking at some
20   evidence.    Doesn’t mean -- usually in the default
21   context, going through a full trial, right -–
22               MR. TIMKO: Right.
23               THE COURT: -– we were here and so I said, well,
24   what’s, you know, what’s the harm and actually will help
25   us to do that.     Now that we don’t have a defendant, I’m


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1    inclined to go down the default route, but I still want
2    to make sure that we have the -–
3               MR. TIMKO: Right.
4               THE COURT: -– documents, the evidence, the
5    record, so that I can make a ruling based on the merits.
6    And, you know, it looks like a default, but to me it’s
7    really a judgment.       It’s really a judgment on the merits
8    at this point.
9               MR. RYAN: I’m confident that with the
10   documentary evidence that’s in there and some deposition
11   testimony that’s of record that we can establish every
12   element of the relief that the Trustee -–
13              THE COURT: Okay.
14              MR. RYAN: -– and the POA are seeking, you know,
15   as to the financial liability and revocation of the
16   discharge.
17              THE COURT: Um-hum.
18              MR. TIMKO: And it was very helpful to have Mr.
19   Balot testify today, I thought.
20              THE COURT: Yeah.
21              MR. RYAN: Yeah.
22              THE COURT: And with respect to the Trustee’s
23   case, Mr. Ryan, my difficulty in that one has always been
24   that we had MCO Complaints, we had the Juravin
25   Complaints, they overlapped a lot, and so it wasn’t clear


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1    to me.   One test I always use when I’m considering
2    summary judgment or default judgment is, do I even know
3    what I would be giving you if I said, yes, I’m going to
4    give you a judgment?       I’m not really sure what you’re
5    seeking, and I don’t have like a full list, and perhaps
6    it’s in the exhibit book that I haven’t looked at, of all
7    the transfers that you’re attempting to avoid and against
8    who.
9               MR. RYAN: Yes.       There are, in the documentary
10   evidence, we have both the bank records identifying each
11   transfer, and we have a summation -–
12              THE COURT: Okay.
13              MR. RYAN: -– with regards to those transfers
14   and, you know, so there’s different parts as to different
15   Defendants.
16              THE COURT: Um-hum.
17              MR. RYAN: But so, for instance, the original
18   Juravin Incorporated, we have a claim against it.                  It’s
19   defaulted long ago.       We just had to prove up the amounts,
20   and we have a list of those amounts.
21              We have a claim against the new Juravin
22   Incorporated, and we’ve alleged that it’s just a
23   successor entity to the original Juravin Incorporated,
24   and we are seeking to have both those entities, and
25   because the second entity was formed by Anna Juravin by


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1    taking assets from the estate, including the name of the
2    first entity, that she’s involved in that claim as well.
3                Then there’s a claim against Anna Juravin
4    individually for money that she received from MCO, and
5    she knew exactly the fraud that was going on between all
6    of the Juravin entities, and so she’s responsible for
7    that transfer.     There can’t be any normal course of
8    business.
9                Then there’s some money that she received out
10   of UMGI that was successor transferee of the monies that
11   went from Juravin to NVLC, back to UMGI, and out to Don
12   and Anna.    And that’s where I was getting to the point
13   that really our claim against UMGI, if I amended the
14   pleadings to conform to the evidence, it would be against
15   all three of them jointly and severally.               And that’s
16   really the only monetary judgment that I think has
17   potential value, because Juravin Inc. and JINC aren’t
18   going to be something that we get.            Well, I mean, it’s a
19   judgment but -–
20               THE COURT: Um-hum.
21               MR. RYAN: -– I don’t know how valuable it is.
22   And a judgment against Anna individually as opposed to
23   something that they’re both responsible for might get
24   them to do something with the money that we just never
25   found.


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1               THE COURT: Okay.
2               MR. RYAN: I had to create a cheat sheet after
3    everything collapsed what was left, you know, because
4    obviously transfers from MCO to Juravin and back and
5    forth are no longer viable.
6               THE COURT: Yeah.         I’m just trying to think for
7    purposes of going forward whether it’s better to -–
8    whether there’s going to be any difference at the end of
9    the day, other than the procedural ones that you’ve
10   described, to have a judgment on the merits or really a
11   default judgment.        Whether, you know, like I said, for
12   the Trustee’s -–
13              MR. RYAN: Right.
14              THE COURT: -- purposes whether it makes a
15   difference.
16              For your purposes, Mr. Timko, I doubt it makes
17   any difference, right, whether it’s -– whether I call it
18   a default judgment or whether I call it a judgment after
19   as a result of trial.       It’s not a -– it’s not a JNOV
20   because there is no verdict here.
21              MR. TIMKO: Right.
22              THE COURT: But essentially the same, the same
23   kind of thing, right?
24              MR. RYAN: I think the important part is that
25   regardless of how you get there, there should probably be


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1    some findings, stated findings, you know, besides they
2    just didn’t show up.
3               THE COURT: Okay.
4               MR. RYAN: With all the evidence that’s in.
5               THE COURT: It’s such a procedural conundrum,
6    because I can’t say I’ve come across this or read any
7    kind of opinions that dealt with it in this way, and I
8    hate for us to just go and put, okay, well, here’s the
9    default, and we’ve done all this work that would allow me
10   to make some findings.       I would love to make findings.
11              MR. TIMKO: Do we want to do a renewed, renewed
12   motion for summary judgment?           I’ll address some
13   affirmative defenses.
14              THE COURT: Well -–
15              MR. RYAN: I think that -–
16              THE COURT: I think -– yeah.
17              MR. RYAN: Yeah.          Every time I’ve come across a
18   situation that I’ve never had to deal with before,
19   something peculiar always is existence in every case, but
20   none that I’ve experienced like this where it’s just, you
21   know, one day after another of something I’ve never seen.
22              But, with regards to the procedural conundrum,
23   maybe we could submit some sort of memorandum of law and,
24   you know, take -– and give it some hard thought.                   Because
25   I appreciate what you just said, and I would prefer that


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1    we get it right, you know.          I don’t want to be in a
2    situation looking back six months from now where I’ve -–
3                THE COURT: Okay.        Let me give you this choice.
4    I’ll conclude the -– well, I will suspend the trial for
5    today.   I’m going to go back and look at some of these
6    cases, and I’ll issue an order that kind of just lays out
7    how I want you to proceed.
8                MR. TIMKO: Okay.
9                THE COURT: As far as declarations, as far as
10   closing arguments.       If it turns out that my conclusion is
11   the best course of action is just to enter default
12   judgment, then I may have you submit proposed documents
13   to that effect.     Because there’s really -– it’s not
14   really appropriate for me to make findings on a default
15   judgment, I don’t think, or even really on a summary
16   judgment.    I mean, I can determine what’s undisputed -–
17               MR. TIMKO: Right.
18               THE COURT: -– maybe I can say it’s undisputed
19   because they haven’t submitted any evidence.                But if it’s
20   something more than that, then I may have you submit a
21   closing argument.        But I still have the issue, Mr. Ryan,
22   that I do need kind of it’s spelled out what it is that
23   you’re asking for.       And we’ll go from there.           I’ll spell
24   it all out.
25               The other option is, like I said, I was going


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1    to give you the option, the other option is you put Mr.
2    Kennedy on today if you wanted to and we complete the
3    trial with them not being here if you feel like that’s a
4    better use of your time.        I’m going to give you that
5    option.   I’m kind of feeling that you don’t think so.
6    Especially with Mr. Kennedy’s situation, that you would
7    prefer not to try to put him on the stand.
8               MR. RYAN: Yeah.          And having two witnesses come
9    up from -–
10              THE COURT: Yeah.
11              MR. RYAN: -– Miami tomorrow -–
12              THE COURT: Right.
13              MR. RYAN: -– to put some facts on the table, if
14   it’s going to end up in a default anyway, it’s just -–
15              THE COURT: Right.
16              MR. RYAN: -– it’s not fair to them either.
17              THE COURT: Well, if we did all that, it
18   wouldn’t be.    I would just go ahead and make a ruling.
19   I’d have you give me a closing argument.                I’d just make a
20   ruling based on the evidence uncontroverted.                 Basically,
21   I’d make my findings, and it would be a judgment after
22   trial at that point.       So that’s -– that’s the reason I
23   give you that option, if you wanted to do it that way.
24              It may be that I could still fashion a way to
25   get that testimony in, but once we leave here today


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1    anything that you file on the record you’re going to have
2    Mr. Juravin is also going to start filing things on the
3    record -– on the docket, I mean.
4               MR. TIMKO: We did do depo designations and they
5    were not -–
6               THE COURT: You did.
7               MR. TIMKO: They were not disputed.
8               THE COURT: Um-hum.
9               MR. TIMKO: So the testimony is there.
10              THE COURT: Right.        You have the -– you have the
11   depo testimony.     Was Mr. Kennedy ever deposed?              Did that
12   ever actually happen?
13              MR. TIMKO: No, he wasn’t.            That was -– that was
14   the one we -–
15              THE COURT: Yeah.
16              MR. TIMKO: So you set the time by the 23rd,
17   and Mr. Ryan provided times that he was available and Mr.
18   Juravin -– well, he filed a recent motion on his due
19   process rights, so that’s his story that -–
20              THE COURT: Right.        Right.
21              MR. TIMKO: But he decided to not go forward.
22   We’ll just leave it at that.
23              MR. RYAN: I did say in the first line of one of
24   my responses that, you know, it’s clear to everybody
25   involved here that you are jockeying for another


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1    appellate argument.       We’ve given you times.            These are
2    when we can do it, we’re glad to do it.
3               THE COURT: Um-hum.
4               MR. RYAN: And his response to that was, no,
5    it’s got to start 9:00 a.m. on this particular date, and
6    since you won’t agree to that today, we’re not going to
7    have any deposition and I’ll take it up on appeal.                      So
8    it’s the same theme that we’ve seen with everything else
9    he’s ever done.
10              THE COURT: Okay.         So if you don’t want to, you
11   know, have witnesses come up tomorrow, which I completely
12   understand and I don’t disagree with, then let me go back
13   and see if the best course of action is for me to just go
14   down the default route or if there’s something in between
15   that I can have you do so that I would be in a position
16   to go ahead and make findings and issue a judgment on the
17   merits.   Okay.
18              MR. RYAN: Okay.          Yeah, I can tell you I agree
19   with everything that you’re trying to do.                I’d love to
20   have some findings because I think what’s going on here
21   is a horrible turn of events.
22              THE COURT: Um-hum.
23              MR. RYAN: It’s an abuse of the system.
24              THE COURT: You’ve got Mr. Arora’s deposition.
25              MR. RYAN: I do.


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1               THE COURT: And who -– Mr. Greene, was that the
2    other one?
3               MR. TIMKO: Well, there was Mr. Arora, and
4    then -–
5               MR. RYAN: Mr. Medina.
6               MR. TIMKO: We got Mr. Medina who’s the
7    accountant for NVLC, who’s the one that put that
8    spreadsheet together.
9               THE COURT: Oh, yes.         Yes.
10              MR. TIMKO: And reviewed everything.
11              THE COURT: Um-hum.
12              MR. TIMKO: We don’t -– well, actually, Mr.
13   Juravin took Mr. Greene’s deposition but not on anything
14   that was generally relevant to this case.               So I might
15   need a declaration from him.
16              THE COURT: Okay.
17              MR. TIMKO: And we need a declaration from the
18   Trustee.
19              MR. RYAN: We also took the depositions of Don
20   and Anna where we -–
21              MR. TIMKO: Yeah, we have Don and Anna.
22              MR. RYAN: -– talked about the destroyed
23   vehicles, where we talked about the overstated claim for
24   Mr. Zuckerman, the overstated claim for Mr. Arora.                     I
25   mean, it’s just -–


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1               MR. TIMKO: The problems with those depositions
2    is that they’re largely nonresponsive.                That’s one of the
3    difficulties.     And one reason I would have liked to have
4    been able to put the Juravins on the stand is because
5    maybe we would have gotten some answers to -– because,
6    you know, I’ll give you an example.
7               THE COURT: Right.
8               MR. TIMKO: The Israel issue.               So you had
9    already continued the trial, and he said that he was
10   leaving for Israel on November 9th, and he agreed to take
11   his deposition on the 10th.          So I asked a very
12   straightforward question, are you going to Israel?                      And
13   the response was unbelievable.            I mean, it was just –-
14              THE COURT: Um-hum.
15              MR. TIMKO: That’s irrelevant, I’m not talking
16   about that.    And it was right after I asked him if he
17   would ever -– if he was honest with the Court, and he
18   always said he was.       And so then I went into those
19   questions, and I can read you the testimony.                 I was going
20   to read it to you before.           It got to the point where he
21   just decided not to answer any further questions, said it
22   was irrelevant and, I mean, it could have been very easy
23   to just say, I don’t have a plane ticket yet but I’m
24   planning on going on the 11th, you know.                Like it was -–
25   but that’s, I mean, and you asked that we file our


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1    deposition transcript, the deposition transcripts because
2    you entered that order of motion to compel him to go.
3               THE COURT: Um-hum.
4               MR. TIMKO: I know you -– I know you have a busy
5    docket, so that’s probably not on your list of things to
6    do, but if you go through there and read ten pages you’ll
7    get a -– you’ll get an idea of how that was.                He wouldn’t
8    answer any questions about his companies because he
9    stated once they were sold he, quote, psychologically
10   departed, unquote, from those companies and refused to
11   answer any questions.
12              So one of the things that we’re hamstrung a
13   little bit by is, and this is I guess in the other
14   sanctions motion, is that they just wouldn’t answer
15   questions.    Anna was a little better.              I mean, she took
16   the Fifth a couple of times.          She did answer some
17   questions, but she was also somewhat difficult.                 But Mr.
18   Juravin was -– I mean, it got to the point where filing
19   another motion to compel just didn’t make sense.                  It was
20   just like let’s get him to trial and go.
21              I did suspect that they wouldn’t testify
22   because -–
23              THE COURT: Um-hum.
24              MR. TIMKO: -– he’s mentioned many times that
25   he’s afraid of being incarcerated.            So I wouldn’t expect


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1    him to actually show up and take the stand but...
2               MR. RYAN: I don’t know that it’s here or there
3    with regards to any particular finding, but I want to
4    tell you some background to something that happened when
5    we were in front of you the other -– before he was
6    leaving for Israel, I think it was.
7               We ended up getting his deposition, and we
8    asked him if he was using a ghostwriter, and he refused
9    to answer.    And when he got in here and we brought that
10   to your attention, he learned that there were going to be
11   some consequences for that.         And he said, oh, no, no, I’m
12   not using a ghostwriter, and now he’s tried to make it
13   look like everything is Chat, GPT, whatever.
14              THE COURT: Right.
15              MR. RYAN: But the writing styles change.                    Well,
16   the background to that was that after doing the entire
17   FTC case in English, he came in front of Judge Jennemann
18   for their discharge hearing and insisted he had to have
19   an interpreter, and she cut through the chase on that
20   about halfway through.         But as the Trustee doesn’t have
21   the same weight as a judge, we had very difficult times.
22   I mean, it took two hours to get him to answer questions
23   with regards to his name.
24              THE COURT: Um-hum.
25              MR. RYAN: And he would say -– he would listen


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1    to the question in Hebrew, he would be listening to the
2    answer in English, and he would start a Hebrew
3    conversation with the interpreter halfway through
4    correcting, and just many, many arguments.
5               So we had this thing going on.              Anna was doing
6    the same thing.     She needed a Polish interpreter.               But we
7    found a pleading in Massachusetts that he filed pro se
8    where he writes right in Paragraph 7, I read and
9    understand English well.
10              THE COURT: Um-hum.
11              MR. RYAN: And we questioned him about that.
12   And in his deposition he says, oh, I didn’t read that
13   before I filed it.       I didn’t write it.          Some retired
14   attorney named Susan, I don’t know her last name, wrote
15   that for me.    Well, Susan Lachman is in the ESI.                She is
16   a member of the Massachusetts Bar, but she lives in
17   Florida, and she’s not a member of the Florida Bar.                    And
18   so he’s got this long history of using ghostwriters and,
19   you know, whether or not she’s been assisting him here or
20   not, I don’t know, but when he was here and said, no, I
21   don’t use a ghostwriter, after he learned that that would
22   be upsetting to you, I just don’t give it any credibility
23   at all.
24              THE COURT: Okay.
25              MR. RYAN: It’s just who he is.


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1                THE COURT: Okay.
2                MR. TIMKO: There’s a -– there’s a pattern of --
3    and we’re taking up too much of your time, but there’s a
4    pattern of being able to say things in court that are not
5    under oath and being asked a very similar question in
6    deposition and refusing to answer the question because he
7    is under oath.
8                THE COURT: Um-hum.
9                MR. TIMKO: Like that’s something -–
10               THE COURT: Right.
11               MR. TIMKO: So while we have taken their
12   depositions, I can’t say that we got answers to.                  The
13   answers we got were pretty good but --
14               THE COURT: Yeah.
15               MR. TIMKO: -– we didn’t get our questions
16   answered.    That was -– that was one major advantage to
17   trial would have been to actually ask them questions.
18   This is a case where I can honestly say that the -– I
19   guess we do have a sanctions motion on file, but it did
20   hamstring prosecution.
21               MR. RYAN: I don’t think he would answered them
22   at trial either.
23               MR. TIMKO: Well -–
24               THE COURT: Well, let me, like I said, let me do
25   this.   Let me go back and think about it, and what I will


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1    do is issue instructions on how we’re going to proceed
2    and what I want you to submit.           And just keep in mind
3    that in doing this, right, and taking it out of the
4    courtroom today and kind of putting it on the docket
5    then, I expect to get a slew of additional filings from
6    Mr. Juravin, and we’ll just address that.               It bogs down
7    my court having to address everything but that’s where we
8    are.   And let me give these back to you, I’ve written
9    down the citations.       I’m going to look at that.            But I
10   just want to figure out the best way to proceed given the
11   unusual procedural posture we find ourselves in.                  Okay?
12              MR. TIMKO: There was -–
13              MR. RYAN: One more question.
14              THE COURT: Sure.
15              MR. RYAN: You said that rightfully the other
16   day that you were quite tired with the way this case was
17   going, and a lot of it, you know, it’s us responding.
18              THE COURT: Um-hum.
19              MR. RYAN: And we anticipate this next wave of
20   things going in the docket and it would be my normal
21   practice to respond, but I think at this point -–
22              THE COURT: You don’t -– you don’t need to
23   respond.   I will notify you if I want a response -–
24              MR. TIMKO: That was going to be what I was
25   going to say.


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1               THE COURT: -– on something.               But sometimes I,
2    you know, you’ve responded.         As we were preparing for
3    trial, I tried to and I did read everything that he filed
4    and make sure that I was addressing it, trying to give
5    him his day in court to the best of my ability.                 But I
6    will -– I will address everything.            It just sometimes
7    takes a day or two for us to do that.
8               So make sure -– we have things called one-click
9    orders, which are those kind of formal orders you see,
10   those are easy because it’s almost one click, it’s
11   actually two or three clicks, but pretty close.                 But then
12   you see the other ones that are a little more formal,
13   those we have to actually draft.
14              So I will -– and I try to enter the appropriate
15   order, so I make sure that the reason I’m doing what I do
16   is clear, especially considering that Mr. Juravin does
17   like to appeal my rulings.          But -–
18              MR. RYAN: Not just yours.
19              THE COURT: Yeah.         So -–
20              MR. RYAN: It’s everybody’s.
21              THE COURT: But I will address this really
22   quickly, especially now that my week is free, and let you
23   know how I want to proceed and what’s best.                Okay?
24              MR. TIMKO: Okay.
25              MR. RYAN: Thank you very much for your time,


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                                                                            132
1    Judge.
2               THE COURT: Thank you.
3               MR. TIMKO: Thank you.
4               THE COURT: And make sure I have -– you leave
5    one of the sets of exhibits here, the books.
6               MR. RYAN: Okay.
7               (Thereupon, the taking of the proceedings was
8    concluded)
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                     C E R T I F I C A T E

I certify that the foregoing is a correct transcript

from the electronic sound recording of the proceedings in

the above-styled matter.



_________________________             December 29, 2024

Cynthia D. Vachon

Notary Public-State of Florida

Commission Expires: 07/24/2026

Commission Number: HH291609




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ability 48:6 55:12      acreporters@emba...     admissible 30:15       amend 112:21
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